                        UNITED STATES BANKRUPTCY COURT FOR THE
                              MIDDLE DISTRICT OF ALABAMA


IN RE:

ALLEGRO LAW, LLC,                                     Case No. 10-30631-WRS
                                                      Chapter 7
      Debtor.
______________________________________________________________________________

CARLY WILKINS, as Trustee for
Debtors Allegro Law, LLC and
Allegro Financial Services, LLC,

           Plaintiff,

vs.                                                   Adv. No. 11-03007

AMERICORP, INC.; SETON, CORP.;
TIMOTHY McCALLAN, and THE
ACHIEVABLE, INC.,

           Defendants.



      PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW


      I.      Introduction

           On February 16, 2016, after nearly 5 years of litigation, this Court entered a judgment

against Defendant Timothy McCallan and defendants Americorp, Inc. and Seton Corp. in the

amount of $102,949,220.72 for their role in “an extraordinary case of fraud on a massive scale that

was perpetrated by Defendant Timothy McCallan…on thousands of victims.” (Doc. No. 361, page

2). On February 16, 2016, this Court also sanctioned McCallan $999,457.95 for discovery abuse

committed during the merits portion of the underlying litigation. (Doc. No. 363). McCallan has

not paid any portion of that sanction.
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       McCallan’s scheme involved using a Montgomery law firm, Allegro Law, LLC, as a front

to induce victims to sign up for debt settlement or debt management services operated by

McCallan’s companies Americorp, Inc., Seton Corp., and The Achievable, Inc. Victims were

promised that they would be represented by an attorney who would negotiate a settlement of their

debts for a fraction of what they owed. The defendants instructed victims to stop making payments

to their creditors and instead to make payments to Americorp and Seton. Virtually all the money

paid by the victims was siphoned off by McCallan and the other defendants, and the victims were

then held to be in default on their debts – with nothing to show for the money they had paid to the

defendants. This Court found in its order that the effect of the fraudulent debt settlement scheme

on the victims was “personal economic suicide.” (Doc. No. 361, page 3).

       This Court feels it appropriate to outline its findings on the underlying merits of this case,

as they reveal an all too familiar pattern of discovery abuse by McCallan and his companies that

is now being repeated in the post-judgment discovery process: (1) dumping large volumes of data

on Plaintiff shortly before court hearings; (2) falsely representing that all responsive discovery has

been produced; (3) refusing to acknowledge the existence of something before Plaintiff finds and

specifically asks about it; (4) filing false affidavits; (5) providing false and incomplete answers to

interrogatories; (6) producing selected information in piecemeal fashion; (7) escalating non-

compliance to the point of contempt and arrest; (8) hiring new counsel and seeking delay; (9)

blaming hurricanes for the inability to comply with court deadlines; and (10) falsely denying that

any information is being hidden from the Plaintiff.

       The contemptuous pattern of brazen discovery abuse during the merits portion of this

litigation provides important context for how dismissively and impudently McCallan approaches


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his discovery obligations. This pattern has once again repeated itself, this time with the production

of approximately 6.4 million pages of accounting and financial records that McCallan has, for

years, denied its existence by proclaiming that he had produced all relevant documents.

         This Court finds that McCallan remains in contempt, that the production of additional

documents is evidence that the coercive nature of the contempt is having an effect, and that he will

remain incarcerated until he purges himself of contempt.

   II.        The Defendants Consciously And Deliberately Did Everything In Their Power To
              Thwart Every Effort Made By The Plaintiff To Obtain Critical Information
              About The Money Flowing Through The Allegro Law Program

         After the March 12, 2010 filing of the Chapter 7 voluntary petitions for Allegro Law, LLC

and Allegro Financial Services, LLC, (Case No. 10-30630, Doc. No. 1; Case No. 10-30631, Doc.

No. 1), this Court sought an explanation from McCallan and the other defendants as to what had

happened to the money paid by thousands of victims to McCallan and his companies through

McCallan’s debt management scheme. Despite more than a half dozen orders, 3 evidentiary

hearings, over 300 PACER filings, McCallan’s arrest for civil contempt for discovery abuse, and

a full trial on the merits, McCallan steadfastly refused to provide any answer to that question.

              A. The Plaintiff Sought Information From The Defendants Before Filing This
                 Adversary Proceeding

         On September 23, 2010, the Trustee wrote a letter to Americorp’s attorneys requesting

much of the same information that the Court requested in its July 6, 2010 Order:

         Please understand that we are seeking this information for all current and former Allegro
         customers from about April 2008 through the termination of the business.

         1.      For all Debt Management and Debt Management [sic] clients: A listing that
                 includes name, address, account number and all debits and credits into that
                 particular account. This report should summarize the information at the conclusion
                 of each customer’s account.

                                                 3




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         2.       For all Debt Settlement clients: A listing that includes all customer account
                  numbers along with the client name, address, account number, and each customer’s
                  escrow balance.

         3.       The most recent statement issued to all active Allegro debt settlement and debt
                  management customers.

         4.       A summary of all payments made to all third parties from Allegro funds from April
                  2008 through the end of business operations.

         5.       We understand that Mr. John Fendley was allowed to access Allegro customer’s
                  account data housed within the AmeriCorp/Seton system. We would be seeking to
                  have ‘inquiry only’ access to this same electronic data. . .

(PX 5).1

         On September 27, 2010, the Trustee wrote a letter to Americorp’s attorneys requesting that

the Defendants preserve all evidence related to the underlying bankruptcy:

         As you are aware, we are in the process of obtaining certain information/data from
         Americorp. The information in their New York office is vital to this case and we
         need to be assured that it will remain available. Due to the nature of this
         information, I am requesting your assurance that Americorp will have a securely
         protective data “back-up” to guard against any loss of this information from any
         potential problems and that i[t] will be available to us at a later date. Please discuss
         this with personnel at Americorp and let me know what you find out.

(PX 6) (emphasis added). Thus, long before the Defendants ceased operations, they were fully

aware of how critical their data was to cases that were currently pending before this Court and they

were fully aware of this Court’s demand for that data.

              B. Defendants Refused To Completely Or Honestly Answer Written Discovery
                 Requests




1
 References to Plaintiffs’ Exhibits in Section II of this order are references to exhibits introduced in the underlying
merits portion of this case, the majority of which were introduced at trial on November 4, 2013. They are identified
by the prefix “PX” to differentiate them from exhibits introduced in the post-trial proceedings, which are identified
by the prefix “TX” in Section III.
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       On February 15, 2011, Plaintiff filed the Complaint in this case (11-3007, Doc. No. 1).

Plaintiff filed an Amended Complaint on March 2, 2011 (PX 7). Defendant Timothy McCallan,

CEO and owner of both Americorp and Seton, testified at a February 2013 evidentiary hearing that

when he was served with the Complaint in this matter, he read it. (PX 346, page 111, line 25; page

112, lines 1-2). He further testified:

       Q:      And so you knew when you were served with the complaint that it had a
               specific request in it that said the trustee was requesting what they called
               turnover, namely that the defendants turn over any and all records whether
               electronic or hard copy relating to certain aspects of the debt programs or
               all aspects of the debt programs that the corporate defendants had run,
               correct?

       A:      Yes.

(PX 346, page 112, lines 3-10).

       On March 10, 2011, Defendants Americorp, Inc., Seton, Corp., and Timothy McCallan

were served with Plaintiff’s First Request for Production and Plaintiff’s First Interrogatories (PX

8, PX 9, and PX 10). Among the many discovery requests included in those pleadings was Request

for Production No. 11, which asked for all documents relating to:

               a.      The entire files on each customer.

               b.      Any payments made by each customer.

               c.      Any fees assessed to each customer.

               d.      The identity of each customer’s creditors.

               e.      Any communications sent to or received from the creditors of each
                       customer.

               f.      The outcome or result of the debt elimination program as to each customer.




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       Clearly, Request No. 11 was designed to obtain documents that answered the fundamental

questions that were at the heart of the underlying bankruptcy proceeding as well as this adversary

proceeding:

               a.     How much money was received from each customer?

               b.     How much money did each customer pay to each Defendant for fees or other
                      charges?

               c.     How much money did each customer pay to Allegro Law, Keith Nelms or
                      any other third party for fees or other charges?

               d.     How much money was paid to each creditor of each customer?

               e.     How much money was being held for each customer when the Defendants
                      last provided services relating to that customer?

       Only three weeks after they were served with these discovery requests, both Americorp

and Seton ceased operations. (PX 35, Affidavit of Timothy McCallan, at ¶ 7).

               C.     Defendants Did Not Disclose the Existence of Either Database

       On May 5, 2011, Defendants responded to Plaintiff’s First Request for Production and

Plaintiff’s First Interrogatories. (PX 15, PX 16, and PX 74). At the beginning of their Request for

Production, Defendants stated that the “. . .[f]iles being made available via DVDs are provided,

with limited exceptions, in the form in which those files have been maintained among the

Defendants’ business records.” (PX 16) (emphasis added). This was the first – but certainly not

the last – time that the Defendants made misrepresentations in this case.

       In Defendants’ first response to Request No. 11, they produced 2 folders of documents,

one named “All Active Clients” and one named “All Inactive Clients,” and stated that additional

documents “may be found in other DVD folders,” which Defendants did not identify. (PX 16).

The contents of those folders were introduced into evidence at the trial as PX 17, PX 18, PX 19,

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and PX 20. A brief review of the 4 spreadsheets produced in those 2 folders demonstrates that

those spreadsheets did not come anywhere close to containing all of the information asked for in

Request for Production No. 11.

       On June 16, 2011, at a hearing conducted by this Court, the Defendants described their

May 2011 document production as follows:

       We received discovery from the plaintiff, from the trustee . . . . In response to that
       request, we turned over, Your Honor, all of our records. We didn’t
       discriminate. We didn’t parse out which question required what information. We
       did, if you will excuse the term, we did a data dump. We gave them and
       structured it by file so they could identify what information we had provided,
       every single piece of information that we have, which is extensive, about each
       of the individual clients of Allegro Law, how much they paid in, how much
       they received, what was disbursed on their behalf. And this was produced
       about a month ago . . . . [F]rankly there isn’t any additional information.
       ...
       These [Americorp and Seton] are two companies with extensive history in
       providing back-office services. They have very good records. We have turned
       over all of those records . . . .

(PX 26, Transcript of June 16, 2011 Hearing, page 20, lines 2-19; page 21, lines 13-16). This was

untrue. The Defendants later turned over at least 800,000 additional documents, a huge second

database that contained information relating to thousands of additional customers, and a variety of

Excel spreadsheets, none of which were included in the May 2011 production. (PX 346, Transcript

of February 21, 2013 Hearing, page 35, lines 23-25; page 36, lines 1-5). Moreover, less than 4

months before trial and after the entry of more than a half dozen Court Orders, Defendants revealed

even more information – including multiple additional servers, 250,000 audio recordings, and

approximately 20 file boxes containing paper documents relating to Allegro Law. (Transcript of

November 4, 2013 Trial, page 24, lines 10-13).




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       On August 2, 2011, pursuant to Bankruptcy Rule 7037 and Rule 37 of the Federal Rules

of Civil Procedure, Plaintiff sent Defendants a 22-page letter outlining in great detail the numerous

deficiencies in Defendants’ discovery responses. (11-3007, Doc. No. 155-9). In that letter,

Plaintiff specifically addressed, among other things, the complete inadequacy of Defendants’

response to Request No. 11 and inquired about accessing a file that Plaintiff had found on his own

-- a file named “AllegroLawLLC - Full Database Backup.” This database had been buried in an

obscure subfolder, which required clicking on the following folders to find it: “Disk 1,”

“AllegrolawData2,” “AllegroLawLLC - Full Database Backup.zip.”              (PX 45, Transcript of

November 14, 2011 Hearing, page 13, lines 22-25; page 14, lines 1-16). Plaintiff was unable to

open the actual file buried within those 3 subfolders because double-clicking on it resulted in an

error message. (PX 45, Transcript of November 14, 2011 Hearing, page 14, lines 17-25; page 15,

lines 1-25, page 16, lines 1-5). Nevertheless, the name of the file seemed promising, so it was

brought to the attention of Defendants in Plaintiff’s August 2, 2011 letter. (11-3007, Doc. No.

155-9, page 8).

       On August 16, 2011, Defendants responded to Plaintiff’s Rule 7037 letter. (11-3007 Doc.

No. 155-10; PX 346, page 38, referencing Exhibit 29 introduced in that hearing). In that letter,

Defendants indicated for the first time that the file named “AllegroLawLLC - Full Database

Backup” was responsive not only to Request No. 11, but also to numerous other discovery requests.

(11-3007, Doc. No. 155-10, page 1, 3-5; PX 346). Notably, this file had gone completely

unmentioned in Defendants’ initial discovery responses despite the fact that they were prepared

by Defendant Timothy McCallan, the corporate Defendants’ sole officer, sole shareholder, and

sole director. (PX 15, Defendants’ Response to Interrogatory No. 20).


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           C. Even After Defendants Finally Acknowledged The Existence Of The First
              Database, They Made It Extraordinarily Difficult For Plaintiff To Access

        In their August 16, 2011 letter, Defendants reassured Plaintiff that Defendants now had

produced all of the Defendants’ files associated with the operation of the Debtors:

        In their response to Plaintiff's First Request for Production, Defendants produced
        its entire database of Debtors’ clients within a file headed 'AllegroLawLLC-
        Full Database Backup' having a .bak file extension (the "Client Database").
        Defendants also produced numerous other files principally with .pdf
        extensions. The latter files are all of the Defendants’ files that pertain to the
        Debtor’s operations other than those that are privileged and other than the
        Client Database. These latter files, to the extent they contain client information,
        were principally created in response to specific requests from the Receiver and are
        necessarily fragmentary. All of the client information sought by Plaintiff,
        including the information identified in items A.1 and A.2 of your letter,
        appears in readily accessible form in the Client Database files.

(11-3007, Doc. No. 155-10; PX 346). Thus, by August 2011, Defendants had again represented

both to the Plaintiff and this Court that they had produced everything in their possession that

pertained to Allegro’s operations. Again, this was untrue.

        On August 18, 2011, this Court held a hearing on Defendants’ request to stay the adversary

proceeding pending the resolution of their appeals of this Court’s denial of their motions to compel

arbitration. During that hearing, the issue of Plaintiff’s access to the database was discussed.

Counsel for Defendants assured the Court that: “if one had access to this particular database file,

it would be the equivalent of access to the entire system.” (PX 30, pages 26, lines 4-6 (emphasis

added)). Again, this was untrue.2




2
 Mr. Jeff Middleton, a witness for the Plaintiff who electronically processed and compared each
of the Defendants’ discovery productions, testified on February 21, 2013 that this was not true
because the Defendants later produced numerous other files as well as a completely separate
database. (PX 346, page 40, lines 4-11).
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          Shortly thereafter, on August 22, 2011, this Court entered its first Order in this adversary

proceeding related to this discovery dispute. The Court ordered that the parties each provide an

IT consultant to attempt to remedy Plaintiff’s lack of access to the database and ordered those

consultants to confer on or before September 1, 2011:

          Not later than September 1, 2011, the Defendants shall make a technical expert
          available to the Plaintiff, or his technical expert, to see if access to the Defendants’
          database can be made readily available. By this, the Court means that access
          such as would normally be made available to a user of the database, such as
          was had by Allegro Law, LLC and Allegro Financial, LLC. The Plaintiff need
          not be given access to alter the database, but should have reasonable access to use
          and manipulate the data.

(11-3007, Doc. No. 103) (emphasis added).

          A conference call between Plaintiff’s IT consultant and Defendants’ IT consultant was held

on August 24, 2011. (PX 45, page 23, lines 10-13). However, the IT consultant that Defendants

chose to participate in the call, David Torre, was not helpful in any way. (PX 45, page 23, lines

14-22).     This is particularly interesting given that the Defendants identified Mr. Torre more than

a year later as their “former IT director” and described him as “highly skilled.” (Doc. No. 208,

filed October 8, 2012); see also PX 56, March 19, 2012 Letter from Thomas Mancuso to Steve

Olen, page 4). Notably, Defendants did not offer Mr. Torre as a witness to testify about issues

regarding access to the database at the evidentiary hearing that was conducted by this Court a year

and a half later on February 21 and 22, 2013. (PX 346).

             D. Defendants Repeatedly Represented To Plaintiff And To The Court That The
                “Client Database” Was The Only Database And That It Would Answer All Of
                the Fundamental Questions

          Plaintiff filed a Motion To Compel on September 9, 2011 (11-3007, Doc. No. 112). On

September 13, 2011, Plaintiff filed his Third Interrogatories and Requests for Production to


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Defendants. (PX 33). In those discovery requests, the Plaintiff again attempted to obtain an

accounting of the money that was paid into the Allegro program, which the Court, by that time,

had been demanding for over a year:

       Identify by name, address, phone number, and your ID number each individual customer
       who participated in the Allegro Law, LLC and/or Allegro Financial Services, LLC debt
       elimination program and:

       a.     The amount of money that was received from each customer during the course of
              his or her participation in the program.

       b.     The amount of money that each customer paid in fees during the course of his or
              her participation in the program to Americorp, Inc., Seton Corp., and/or Timothy
              McCallan.

       c.     The amount of money that each customer paid in fees during the course of his or
              her participation in the program to Allegro Law, LLC, Allegro Financial Services,
              LLC, and/or Keith Nelms.

       d.     The amount of money that each customer paid in fees during the course of his or
              her participation in the program to any other third party including but not limited
              to marketers and processors not listed in your answers to subsections (a)-(c) above,
              specifically listing the name of each third party to whom fees were paid, the amount
              that each customer paid to that third party, and the dates on which such amounts
              were paid.

       e.     The amount of money that was paid to each creditor of each customer during the
              course of that customer’s participation in the program, specifically listing the name
              of each creditor to whom money was paid, the amount paid, and the date on which
              each payment was made.

       f.     The amount of money that was being held for each customer when the Defendants
              last provided services relating to that customer.

(PX 33). A request for production included in that filing also requested “any and all documents

that Defendants used, referred to, consulted, reviewed, relied on or considered in answering any

part of Interrogatory No. 1.” (PX 33). On October 12, 2011, Defendants responded with a lengthy

objection and more misrepresentations:


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       Defendants object to this interrogatory since, when it is added to the number of
       interrogatories previously propounded, the total exceeds the number of
       interrogatories permitted by Bankruptcy Rule 7033 and Rule 33(a)(1) of the Federal
       Rules of Civil Procedure. Pursuant to these rules, a party may serve on any other
       party no more than 25 written interrogatories including all discrete subparts. Fed.
       R. Civ. P. 33(a)(1). Assuming that no interrogatory already served in this
       proceeding can be deemed to include any discrete subpart, Plaintiff has heretofore
       served on Defendants 27 written interrogatories in two sets. Defendants did not
       object to answering the two interrogatories previously propounded that exceeded
       the total authorized, but they indicated in their answers to Plaintiff’s second set of
       interrogatories that they would be unwilling to stipulate to the service upon them
       of any additional interrogatories.

       In addition, the information sought by Plaintiff responsive to Interrogatory No. 1
       can be determined by examining and compiling information available in the
       Database (as the term is defined in Defendants’ Opposition to Plaintiff’s Motion to
       Compel, Docket Entry #123) previously provided to Plaintiff to which Plaintiff is
       currently being afforded access. The burden on Plaintiff of ascertaining or deriving
       the information will be no greater than for Americorp and Seton, particularly given
       that Americorp and Seton have ceased operations and long stopped active use of
       the Database. Rule 33 provides that “if the answer to an interrogatory may be
       determined by examining, auditing, compiling, abstracting, or summarizing a
       party’s business records (including electronically stored information), and if the
       burden of deriving or ascertaining the answer will be substantially the same for
       either party, the responding party may answer by (1) specifying the records that
       must be reviewed, in sufficient detail to enable the interrogating party to locate and
       identify them as readily as the responding party could; and (2) giving the
       interrogating party a reasonable opportunity to examine and audit the records and
       to make copies, compilations, abstracts, or summaries.” Fed. R. Civ. P. 33(d).

(PX 38). This interrogatory response was signed under oath by Defendant Timothy McCallan,

individually and as the corporate representative for Defendants Americorp and Seton. (PX 38).

The representations Mr. McCallan made in this interrogatory response were untrue.

       On October 11, 2011, Defendants responded to Plaintiff’s Motion To Compel (11-3007,

Doc. No. 123). Defendants, both in their August 16, 2011 response to Plaintiff’s Rule 7037 letter

and in their Opposition to Plaintiff’s Motion To Compel, emphasized that the database that they




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had produced contained all of the information needed to answer the “fundamental questions,”

which included a full accounting of the money paid into the Allegro program.

       In their August 16, 2011 response to Plaintiff’s Rule 7037 letter, Defendants stated:

       •   “In their response to Plaintiff’s First Request for Production, Defendants produced its
           [sic] entire database of Debtors’ clients within a file headed “AllegroLawLLC-Full
           Database Backup” having a .bak file extension (the “Client Database”) . . . . All of the
           client information sought by Plaintiff [in response to Request for Production No.
           11], including the information identified in items A.1 and A.2 of your [August 2,
           2011] letter, appears in readily accessible form in the Client Database files” (Doc.
           No. 155-10; emphasis added).

       In their Opposition to Plaintiff’s Motion to Compel, Defendants stated:

       •   The Database contains detailed customer information responsive to many of
           Plaintiff’s discovery requests.”

       •   Defendants believe that the Database contains all of the information sought by
           Plaintiff [in Request No. 11].”

       •   “Through the access to the Database now being provided to Plaintiff, Defendants
           believe that Plaintiff should be able to generate for himself the answers to these
           questions [i.e., the fundamental questions at the heart of this adversary proceeding] as
           well as any others regarding the services rendered by Defendants for the benefit of
           Debtors’ customers.”

       •   “Defendants believe . . . that the access to the Database being given to Plaintiff will
           enable Plaintiff, with substantially the same effort as would have to have been
           expended by Defendants, to generate the reports that Plaintiff seeks.”

       •   “Access to the Database, together with other production made by Defendants, affords
           Plaintiff all of the documents and records within the possession, custody, and control
           of Defendants responsive to Request No. 11 and should obviate all of the remaining
           concerns as to Request No. 11 by Plaintiff.”

(Doc. 123, pages 2, 3, 5, and 6) (emphasis added). Moreover, in a sworn affidavit, Defendant

Timothy McCallan stated:

       The Database . . . represents the database of information regarding Debtors’ clients
       in the form in which the database was kept in the usual course of Americorp’s and


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        Seton’s businesses, and the access being afforded Plaintiff to the database is the
        same access as the Defendants had when the database was in active use.

(PX 35, at ¶ 8). Despite all of these unequivocal representations to the Court, at this point in time

(October 2011), Defendants still had not disclosed that there was actually a second database, as

discussed in more detail below. Instead, Defendants continued to spend all of their time and energy

making access to the first database impossible.

           E. Defendants Continued To Attempt To Thwart Plaintiff’s Access To The First
              Database

        On the same date that Defendants filed their Opposition to Plaintiff’s Motion To Compel,

they also filed their Supplemental Responses to Plaintiff’s First Request for Production and First

Interrogatories. (PX 37). In their supplemental response to Request for Production No. 11,

Defendants claimed that Plaintiff could have immediate access to the first database through a

secure website, which Plaintiff declined.3 (PX 45, page 34, lines 7-25; page 35, lines 1-25, page

36, lines 1-20). Alternatively, Defendants offered to provide the software necessary for Plaintiff

to access the information on his own computer equipment. (PX 37). On October 17, 2011, Plaintiff

requested that the Defendants produce the software that would allow Plaintiff to access the

Database using his own equipment. See October 17, 2011 email from Lucy Tufts to Julian Spirer.

(Doc. No. 155-15).

        Because, according to Defendants, the copying and loading of the software had to be done

by an outside consultant, Plaintiff did not receive the software until October 25, 2011. (PX 45,

page 27, lines 4-7). Defendants then sent the Plaintiff custom built software without an “installer”


3
 It turned out to be extremely wise that Plaintiff refused Defendants’ offer to provide access
through a website, as it would have only been access to the single database that was at issue at
this point in time. Plaintiff’s insistence that he be allowed to clone Defendants’ server eventually
led to the discovery that there were, in fact, 2 different databases.
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(an installation program – including drivers, plugins, etc. – that installs software onto a computer

and configures it so that it is compatible with the system). (PX 45, page 26, lines 4-20). Therefore,

all installation of the custom built software would have to be done manually. General IT

experience will only help so much when dealing with custom built software designed for a specific

client and a specific purpose. (PX 45, page 25, lines 13-25; page 26, lines 1-20).

       Even worse, the instructions provided with the software (which Defendants obviously

knew Plaintiff needed) stated in their entirety:

       (1)     Setting up DB (DB Name: QPSData) in SQL Server 2000

       (2)     Setting up two Virtual directory in IIS (1. QCS Application 2. Business Service)

       (3)     Setting up SQL Report Database in SQL Server 2000 and setup SQL Server

               Reporting Virtual directory to be able run reports

       (4)     Store all correspondence letters, contracts and reports physically on drive to pull

               from QPS application

       (5)     Have their copy of QPS executables which point to QPSData database copy

               mentioned in point 1.

(PX 45, page 26, line 21 through page 30, line 14). The second set of instructions read as follows

(errors and typos in original):

       two aps that need changes: *note: QPS pulls the user credentials from the client
       ithout password…but the user that they useon their client mahcine must exist in
       QPS.

               QPS CLIENT APP: qps.exe.config may need to be updated

(PX 45, page 30, line 15 through page 32, line 11). Plaintiff had no idea what these instructions

meant, and these so-called instructions certainly did not constitute step-by-step directions on how


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to set up the software in Server 2008 and SQL 2008 environments – both of which were necessary

to make the information in the first database accessible. (PX 45, pages 26 through 30).

        On October 27, 2011, this Court entered a second Order regarding access to the database

in this case:

        The Defendants shall file, not later than November 9, 2011, a statement describing
        the software necessary to access the database referred to in their Response to the
        Plaintiff's Motion to Compel. (Doc. No. 123). This statement shall be sufficiently
        specific to permit the Court to retain its own expert so that it may make an
        independent determination as to whether the database in question has, or has not,
        been produced.

(PX 43). In response to this Order, the Defendants submitted the following:

        Pursuant to this Court’s Order for Evidentiary Hearing entered October 27, 2011
        (Doc. 127), Defendants Americorp, Inc. ("Americorp"), Seton Corporation
        ("Seton"), and Timothy McCallan ("McCallan") hereby describe the software
        necessary to access the database referred to in Defendants' Response to the
        Plaintiff's Motion To Compel (Doc. 123): Microsoft (R) SQL Server 2000
        Enterprise Edition.

(PX 44) (emphasis added). This direct representation to this Court also turned out to be false.

Defendants later described the first database and the software that was necessary to access it as

follows:

        CreditSoft application (used for debt settlement clients) and related database (a
        Microsoft SQL Server 2008 database named ‘AllegroLawLLC’). This is the front
        end application for the database produced on 5/6/2011.

(PX 58) (emphasis added). Of course, at this point, the Defendants were still concealing the fact

that there were actually 2 databases, as described below.

            F. Plaintiff Cloned Defendants’ Server In An Attempt to Access The Database At
               Issue, Only To Discover That He Had Been Provided A Second Database




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        On November 14, 2011, the Court held a hearing on Plaintiff’s Motion To Compel.          (PX

45). The testimony in that hearing established that at one point in time the Defendants had both

the database and the system on which it was a part preserved and stored for restoration.

        Robert Link, an attorney for the Defendants, testified that “when operations were ceased

on or about April 1st [2011] and things were wound down. . .all electronic information, for lack

of a better word, was basically put in a storage format and basically stored in a cloud, so to speak.”

(PX 45, Transcript of November 14, 2011 Hearing, page 59, lines 20-24) (emphasis added). Mr.

Link went on to testify that the database “came off storage media. . .where it was stored for a

period of time until the request came up and the need came about to bring the database and the

system back up.” (PX 45, page 60, lines 9-12 (emphasis added)). Mr. Link explained that the

system had been rebuilt on a third-party server in Florida, but had been dismantled prior to the

November 14, 2011 hearing. (PX 45, page 70, lines 15-25; page 71, lines 1-4). This was more

false testimony given under oath on behalf of the Defendants.3

        On November 15, 2011, this Court entered a third Order on discovery in this


3
 In February 2013, Oscar Nunez, IT manager for the Defendants, in his own testimony to this
Court, directly contradicted the testimony of Mr. Link:

        Q:     Was that system in Florida that was fully operational ever dismantled?

        A:     The system in Florida dismantled, no.

        Q:     So it has worked just like that from October 2011 to at least eight months
               ago [August 2012], which is the last time that you had any knowledge of it,
               the last time you were employed there?

        A:     Yes.

(PX 346, page 144, lines 16-21; page 182, lines 13-19).


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case, which granted Plaintiff’s Motion To Compel and awarded Plaintiff his reasonable expenses

in bringing the motion, including attorney’s fees. (PX 46). In addition, the Court ordered as

follows:

        The Defendants shall produce the database which is the subject of these
        proceedings on a server which is to be made accessible to the Plaintiff. Plaintiff
        may access the server directly and thereby access the database upon reasonable
        notice. Plaintiff shall have reasonable access to the server and the data without
        interference from or observation by the Defendants, their agents, parties they
        otherwise control under contract, or otherwise. Plaintiff may clone the database,
        the front end application program, and any other electronically stored
        information, programs or applications, which may be necessary for them to
        access, view, and work with the subject data. The database shall be produced
        in its original form and shall not be altered, deleted, or modified. The
        Defendants shall cooperate with the Plaintiff in their effort to access the database.

(PX 46) (emphasis added).

        On December 1, 2011, Defendants responded that “Plaintiff may access the server and the

data, and perform the other actions specified in the Order, during regular business hours on

December 14 and 15, 2011, at the offices of Jason B. Wells and Jackson Thornton Technologies,

LLC, 200 Commerce Street, Montgomery, AL 36101.” (PX 47).4                  Plaintiff’s counsel and

Plaintiff’s IT expert went to Montgomery and cloned the database and the server. (PX 346, page

46, lines 11-15). After doing so, Plaintiff discovered that the second database (the one obtained in

December 2011) and the first database (the one produced in discovery in May 2011) were

completely different databases with completely different information. (PX 346, page 46, lines 22-

25; page 47, lines 1-23).


4
 Offering the “database” for cloning in Montgomery, Alabama was peculiar at the time. This
Court later discovered that the Defendants had dozens of operational servers responsive to
Plaintiff’s discovery requests that were being kept in Melbourne, Florida. (Transcript of
November 4, 2013 Trial, page 24, lines 10-13). It is obvious to this Court that transporting and
making one of these servers available in Montgomery was a deliberate attempt to thwart
Plaintiff’s discovery of the many other operational servers in Florida.
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           G. The Threat Of Civil Contempt And The Arrest Of Defendant Timothy
              McCallan

       As a result, Plaintiff filed a Motion for Sanctions on January 25, 2012 (Doc. No. 155). On

February 14, 2012, defense counsel filed motions to withdraw, explaining: “Despite repeated email

and voice mail messages, I have had no communications with Defendants regarding the substance

of the case since January 25, 2012.” (PX 51, Affidavit of Julian Spirer, at ¶ 4).

       On February 15, 2012, this Court entered a fourth Order:

       The Trustee reports that the Debtors, Allegro Law and Allegro Financial, did not
       keep their own business records, but rather relied upon Americorp for these
       services. These business records are crucial to the administration of the underlying
       Chapter 7 bankruptcy cases as well as for this Adversary Proceeding. The
       Defendants have promised to produce the records and have falsely represented
       to the Court that the records were in fact produced.
       ...
       Counsel should bear in mind that it appears that the Defendants may be held in
       contempt of court for the failure to produce the business records of the Allegro
       entities, as called for by this Court’s Order of November 14, 2011. Moreover, it
       appears that counsel have made representations to the Court which do not
       appear to have been truthful. If counsel are permitted to withdraw before the
       motion for sanctions is resolved, the Court could be left with a situation where
       Parnell, Rosenberg, and Spirer claim that the client has not been forthcoming and
       the client, through new counsel, may claim that the wrongdoing was all on the part
       of Messrs. Parnell, Rosenberg, and Spirer.

(PX 52) (emphasis added). A few days later, on February 22, 2012, this Court entered a fifth

Order, which granted, in part and deferred in part, Plaintiff’s Motion for Sanctions. (PX 53). In

addition, the Court stated as follows:

       The Court finds that the Defendants have willfully failed to comply with this
       Court's order of November 15, 2011, (Doc. 138), requiring them to produce the
       subject database. . .Accordingly, Defendants are in contempt of court.
       ...
       The Defendants are again ordered to produce and make available to the Trustee, his
       attorneys, accountants and other representatives, the database which has long been
       the subject of these proceedings.


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(PX 53) (emphasis added).

       On March 5, 2012, a warrant was issued for the arrest of Defendant Timothy McCallan.

(PX 54). A little over a week later, the Court noted that “McCallan appeared with new counsel,

who admitted that they could not produce the database, as called for by the November 15, 2011

Order.” (PX 55). This Court set another hearing for April 9, 2012 and gave Defendant McCallan

an opportunity to purge himself of contempt. (PX 55).

       Incredibly, the Defendants blamed the Bankruptcy Court (and others) for their own

discovery abuse:

       It is a fact that the Bankruptcy Court’s decision to shut down business operations
       has created a mountain of impediments with respect to your discovery demands.

(PX 56) (emphasis added).

       On March 28, 2012, the Plaintiff – yet again – asked the Defendants for basic information

about what happened to over one hundred million dollars that was paid into the Allegro Law

program. This information was still critical to the Plaintiff’s causes of action for turnover,

accounting, and fraudulent transfers. This time, the Plaintiff submitted the following questions to

the second set of attorneys who entered appearances on behalf of the Defendants on March 14,

2012 and April 6, 2012 (11-3007, Doc. Nos. 186, 187, and 191):

       1.      The name, address, phone number, and Client ID number of each individual
               customer who participated in the Allegro Law, LLC and/or Allegro
               Financial Services, LLC debt management and/or debt settlement program.

       2.      The amount of each and every fee that was paid by each customer during
               the course of his or her participation in the program.

       3.      The amount of each and every fee that each customer paid during the course
               of his or her participation in the program to Americorp, Inc., Seton Corp.,
               Timothy McCallan and/or any other entity owned by, controlled by,
               affiliated with or related to any of the Defendants.

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       4.      The amount of each and every fee that each customer paid during the course
               of his or her participation in the program to Allegro Law, LLC, Allegro
               Financial Services, LLC, and/or Keith Nelms.

       5.      The amount of each and every fee that each customer paid during the course
               of his or her participation in the program to any other third party,
               specifically listing the name of each third party to whom each and every
               such fee was paid, the amount of each and every fee that each customer paid
               to each third party, and the date on which each and every such fee was paid.

       6.      The amount of each and every payment that was made to each creditor of
               each customer during the course of that customer's participation in the
               program, specifically listing the name of each creditor to whom each and
               every such payment was made, and the date on which each and every such
               payment was made.

       7.      The amount of money that was being held for each customer when the
               Defendants last provided any services relating to that customer.

(PX 59).

       On April 6, 2012, Defendants filed Notice of Compliance With Court Order Dated March

15, 2012 Regarding Production of Database and Motion to Remove Sanctions. (PX 58). In that

filing, Defendants “assert[ed] emphatically” that “since the entry of the Order, the Defendants, the

Defendants’ counsel, newly engaged consultants and their staff have expended substantial

resources and time and made every effort to comply with the Plaintiff’s requests for production of

documents as well as the Order.” (PX 58). For the first time in a pleading filed with this Court,

Defendants admitted that there were actually 2 databases and 2 separate front end applications,

describing them as:

       QPS application (used for debt management clients) and related database) (a
       Microsoft SQL Server 2000 database named "QPSData"). This was produced to
       Plaintiff on 12/14/2011.




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       CreditSoft application (used for debt settlement clients) and related database (a
       Microsoft SQL Server 2008 database named "AllegroLawLLC"). This is the front
       end application for the database produced on 5/6/2011.

(PX 58). The Defendants went on to say that they were “committed henceforth to speedily and

thoroughly complying with the rules of discovery” and concluded by saying that they “hereby

tender to this Court and to the Plaintiff the database requested by the Plaintiff in a format which

should be understandable by the Plaintiff or a third party expert engaged by the Plaintiff.”    (PX

58) (emphasis added).

       Based on these representations by the Defendants, on April 13, 2012, this Court purged

Defendant Timothy McCallan of contempt. (PX 60). This Court discovered much later that the

representations made in the Notice of Compliance were also false. For example, Oscar Nunez, the

Defendants’ IT director, testified almost a year later that he knew the links to the documents in the

April 2012 production, which were critical to understanding the information in the database, were

not functional:

       Q:         And is it your testimony to this Court that, as of April 2012, when you sent those
                  hard drives to the Plaintiff and made the copies for the Court, you knew that the
                  links didn’t work?

       A:         The links to what?

       Q:         The Papervision links.

       A:         In the first one?

       Q:         Yes.

       A:         Yes. That is why – yes, the links didn’t work.




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(PX 346, page 191, lines 16-24). Thus, Defendants’ representations to this Court in their Notice

of Compliance that an “understandable” version of the database had been produced simply were

false.

         On April 23, 2012, the Defendants produced a series of spreadsheets that provided

summary information related to 7 questions that the Plaintiff had submitted to the Defendants in

March (PX 59, PX 88, and PX 89), which purported to include answers to three additional (and

related) questions. On the same date, the District Court entered its ruling on the Defendants’ appeal

of this Court’s denial of their Motion To Compel Arbitration. (Doc. No. 195). The District Court

took note of the Defendants’ discovery abuses in this case, observing:

         McCallan has proven himself contemptuous to compulsory court orders
         throughout the bankruptcy process. McCallan's stonewalling regarding these
         adversary claims has caused one set of lawyers to withdraw from his
         representation (of him and his entities), and whatever cooperation to date has been
         while in civil contempt and under the threat of criminal contempt punishment. . .All
         indications are that, once the dispute is out of the Court’s control, McCallan will
         take advantage of the lessened authority of the arbitrator in order to frustrate the
         proceeding.

(11-3007, Doc. No. 195) (emphasis added).

            H. Defendants Continued To Obstruct Plaintiff’s Ability To Examine And
               Analyze The Documentary Evidence In This Case Even After The Production
               Of Both Databases

         As ordered by this Court, on May 7, 2012, the Plaintiff filed his Third Report on the Status

of Discovery, explaining, in part, that: “Plaintiff has very little documentary evidence (e.g., actual

letters to and from specific creditors evidencing negotiation and/or settlement of a debt owed) to

verify the accuracy of the data input into the various databases by Defendants' employees.” (PX

62). On the same day, Plaintiff also sent the Defendants another Rule 7037 letter requesting that

the documentary evidence responsive to Request No. 11 be produced. (PX 62). On May 16, 2012,

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Defendants filed a response to Plaintiff’s Third Report on the Status of Discovery, but said nothing

about the lack of documentary evidence discussed in the Plaintiff’s report. (PX 64).

       On May 18, 2012, Defendants wrote to Plaintiff that they were “making every effort. . .to

complete our review as soon as possible and file a further response as we deem appropriate,” citing

“significant geographic issue[s] in coordinating efforts on behalf of our Client in order to properly

respond to [Plaintiff’s] requests.” (PX 65).

       On June 4, 2012, Defendants sent additional correspondence to the Plaintiff stating in part

as follows: “The majority of the alleged ‘deficiencies’ in your May 7 letter are included in

Defendants’ electronic production and it is just a matter of you or your expert locating where on

the system the information is stored.” (PX 66). Defendants offered to participate in a conference

call in order to demonstrate where the information Plaintiff requested was located. (PX 66).

       On June 18, 2012, the parties participated in a conference call related to determining the

exact location of all the actual documents pertaining to each individual customer of Allegro for

whom the Defendants purportedly engaged in debt management and debt settlement negotiations.

Based on what was discussed in the conference call, Plaintiff wrote to Defendants on July 3, 2012

to summarize Plaintiff’s understanding of the universe of available documents in this case:

       Based on our June 18th conference call and our conversation today, it is my
       understanding that the universe of available documents pertaining to individual
       customers in the Allegro matter are: (1) the data entered into the QPS (for debt
       management) and CreditSoft (for debt settlement) programs, respectively, which
       can be seen as "screenshots" when the programs are loaded and various tabs are
       selected; (2) downloadable through the correspondence tab of QPS (for debt
       management); and (3) in a folder that you produced called "PV-Allegro-All" (which
       has separate subfolders for debt management Paper Vision docs and debt settlement
       Paper Vision docs).




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(11-3007, Doc. No. 203-D).5 Additionally, Plaintiff inquired about the documents in folders called

“Allegro Settlement Docs” and “ReportStorage,” which appeared to contain additional documents

responsive to Plaintiff’s discovery requests. (11-3007, Doc. No. 203-D). Defendants responded

to these inquiries by indicating that they would “check on the answer.” (11-3007, Doc. No. 203-

D).

        On September 24, 2012, Plaintiff filed a Motion To Amend Scheduling Order and Produce

Documents in a Usable Format. (11-3007, Doc. No. 203). Plaintiff was unable to access most of

the actual documents relating directly to the customers of Allegro Law. The links between the

software that Defendants produced and the document repository to which they were formerly

connected were all broken. (PX 346, page 59, lines 7-23). According to testimony at the February

2013 hearing, the vast majority of documents associated with each customer were contained in a

folder titled “ReportStorage.” (PX 346, page 59, lines 24-25; page 60, lines 1-18). This file

contained 817,456 separate documents associated with QPS (the debt management side) and

260,000 documents associated with CreditSoft (the debt settlement side). (PX 346, page 60, lines

10-18). To make things worse, the 817,000 documents in the “ReportStorage” folder were

organized by date – not by customer. (PX 346, page 60, lines 24-25; page 61, lines 1-21). In

other words, all letters generated on January 29, 2008 were in one folder, all letters generated on

February 7, 2008 were in another folder, all letters generated on February 11, 2008 were in yet

another folder, and so on for approximately 880 different days. (PX 346, page 61, lines 2-21).




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 The representations made on this telephone conference to the Plaintiff were obviously untrue,
as Defendants had 20 boxes of documents in storage in Florida that were not included in the
database. (Transcript of November 4, 2013 Trial, page 24, lines 10-13).
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       With the benefit of hindsight and the admissions regarding the inoperable links in the front-

end applications, this Court now better understands Defendants’ witness Bob Link’s very carefully

chosen words at the November 14, 2011 hearing. Mr. Link admitted that what was sent to

Montgomery for the Plaintiff to clone was not the same system that was up and running in Florida:

“The backup file [that was delivered to Jason Wells in Montgomery] is not the same as having

the system up and running on a particular server.” (PX 45, Transcript of November 14, 2011

Hearing, page 64, lines 16-17). Mr. Link explained:

       Q:      And you said yourself that defendants Americorp and Seton, at considerable
               expense and trouble, had the database rebuilt on the server in Florida;
               correct?

       A:      Correct.

       Q:      And with all of that information in the knowledge of Americorp and Seton
               and some of its attorneys, including you, you are telling us that the
               defendants and its attorneys took no steps whatsoever to preserve that
               database that had been rebuilt on that server in that same format; is that
               your sworn testimony to this court this morning?

       A:      Did anybody take steps to preserve it on a server in Florida which nobody
               wanted? No. Did we preserve the database and all of the information and
               all of the software and applicable necessary pieces? Absolutely. We have
               been preserving it since April 1st.

(PX 45, Transcript of November 14, 2011 Hearing, page 70, lines 15-25; page 71, lines 1-4)

(emphasis added). This Court concluded that the data’s backup file and the software programs

were restored to the virtual server in Montgomery. However, during that process, the document

repository that was also loaded onto the virtual server was no longer in the same electronic location

where the front-end applications were programmed to find it. During the database rebuild in

Montgomery, Defendants failed to redirect the front-end applications to find the documents on the

local server by specifying the new location of the document repository. Incredibly, Defendants

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claimed they could not preserve the ability for these applications to find the repository.

However, once again, this was untrue. Oscar Nunez, IT manager for the Defendants, testified that

the system in question was fully operational and functional through at least August 2012. (PX

346, page 144, lines 16-21; 178, lines 24-25, page 179, lines 1-2, 23-25, page 180, lines 1-5).

       This Court previously observed that after years of attempts to obtain an electronic database

that contained information about the amount of money stolen from victims, McCallan finally

produced the electronic equivalent of taking a paper telephone directory, shredding it, placing the

pieces in a barrel, shaking it up, and then producing the pieces:

       Assume that one has a paper telephone directory with 30,000 entries – that is 30,000
       names with corresponding addresses and telephone numbers. Assume further that
       someone takes a pair of scissors and cuts up the directory so that a reader could not
       tell which name went with which address or telephone number. Assume further
       that all of these separate tables – names, addresses, and telephone numbers – are
       thrown into a barrel, shaken up, and given to someone from out-of-town.
       …
       That is what the Defendants produced throughout the course of this litigation. Even
       if they produced all of the data – a doubtful assumption in this case – there was no
       way to relate the data, rendering it useless. In essence, the Defendants produced
       the barrel with all of the information in it, but no way to relate one piece of
       information to another.

(Doc. No. 361, page 16). The Defendants intentionally disabled the links to the documents to

make the discovery nearly impossible for the Plaintiff to access and analyze.

           I. Defendants Continued To Make Misrepresentations About The Databases

       The Defendants’ misrepresentations did not end there. In their October 8, 2012 Response

To Plaintiff’s Motion to Produce Documents in a Usable Format, Defendants again asserted – as,

by this time, they had asserted many times before – that they had met their burden under Rule 34

because they had now produced the documents as they were kept in the usual course of business:

“Defendants have cloned [their] servers and replicated [their] database for Plaintiff, with the

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requested information being stored and kept in the identical manner in which it was stored when

the Defendants’ businesses were in operation.” (11-3007, Defendants’ Response To Plaintiff’s

Motion to Compel Production Of Documents In A Usable Format, Doc. No. 208, pages 12-13)

(emphasis added).

       Defendants claimed that the virtual server they produced “allows Plaintiff’s computer to

function as if their computer was the Defendants’ computer (and server) while Defendants were

operating.” (Doc. No. 208, page 4) (emphasis added). They claimed that the virtual server “allows

the Plaintiff to operate the database as if Plaintiff was one of Defendants’ employees when they

were operating.” Id. (emphasis added). They claimed that the virtual server is “the equivalent

of the remote access that was given to Nelms and Colley. . .” Id. (emphasis added). By their own

admissions in that same pleading, none of this was true:

       . . .Defendants scanned all hard documents they received and saved them to the
       database. To accomplish this, Defendants used a commercially available program,
       PaperVision. When the databases were live and running on Defendants’
       servers and networks, the PaperVision documents were linked to customer
       files in either the QPS program or the CreditSoft program. When Defendants
       were forced out of business and Defendants’ network was no longer functional,
       some of the PaperVision links no longer functioned.

(Doc. No. 208, page 11) (emphasis added). Their own IT director, Oscar Nunez, later testified:

       Q:      And while the system was operational, they could click on those
               correspondence tabs, those PaperVision tabs, the document tabs on either
               front-end application and the document would appear on the screen; right?

       A:      Yes.

(PX 346, page 196, lines 17-21). Thus, the Defendants did not produce the documents as they

were kept in the usual course of business – i.e., with functional links for quick retrieval of all

documents by customer.


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            J. Defendants Remained Defiant Right Up Until Default Judgment Was A
               Realistic Potential Consequence

       On October 4, 2012, the Court entered a seventh Order, which required the parties to meet

one last time and attempt to resolve this discovery dispute. (PX 70). In the event the parties were

unable to resolve their differences, the Court set an evidentiary hearing for November 5, 2012.

(PX 70).

       On October 22, 2012, the parties participated in a “meet and confer” telephone conference.

During that call, Defendants asserted that they simply could not restore their networks and provide

functionality to the system as Plaintiff requested:

       The database was preserved exactly how it was when it was operational, but that
       doesn't mean that it was still operational. Once those - once that network was no
       longer in place, it doesn’t mean that the information was not preserved. But its
       functionality and how it all talked to the [sic] each other, that's - those are two
       different things. And I think that's what y'all are. . .I think that's what y'all are
       conflating. I don't - those are two different things. I can't - I can't make their
       networks come back up.

(Transcript of Meet and Confer, October 22, 2012, page 32, lines 16-23; page 33, line 1 and lines

5-8 (emphasis added) (Doc. No. 239-1)). Despite these emphatic protestations by Defendants,

their own IT Director, who was responsible for making these links work, testified under oath just

a few months later that the functionality of the links at issue was simply a matter of “want to have”

versus “need to have”:

       Q:      When you were talking about the links in the April 2012 production, the
               ones that did not work, you used a phrase called something are “need-to-
               have’s” and some things are “want to have’s.” Do you remember saying
               that?

       A:      Yes. That’s a qualification we use in engineering.

       Q:      In April 2012, were you aware of a court order that was entered in
               November 2011?

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        A:       No.

(PX 346, page 186, lines 7-14). Mr. Nunez’s testimony further evidences how completely

contemptuous the Defendants were about this Court’s orders in this litigation, which, as far back

as November 2011, included specific instructions that “[t]he database shall be produced in its

original form and shall not be altered, deleted, or modified.” (PX 46).

        Instead of agreeing to restore the links to the actual documents in their production as

Plaintiff requested, Defendants offered these alternatives during the October 2012 “meet and

confer”:

        (1)      Defendants would extract the .pdf documents in the “Reports Storage”
                 folder, run them through a program called “Law,” and create a load file for
                 Plaintiff to upload to litigation support that he must purchase. (Transcript
                 of Meet and Confer, October 22, 2012, page 17, lines 21-23; page 18, lines
                 1-9; page 19, lines 21-23; page 20, lines 1-6 (Doc. No. 239-1)). Defendants
                 also suggested that they perform some part of this process to see if it is
                 adequate before proceeding to complete the rest. (Transcript of Meet and
                 Confer, October 22, 2012, page 37, lines 12-23; page 38, lines 1-4 (Doc.
                 No. 239-1)).

        (2)      Plaintiff could purchase access to “Relativity,” a web-based litigation
                 support software service that stores and hosts the documents at a location
                 other than a local server. (Transcript of Meet and Confer, October 22,
                 2012, page 25, lines 2-8; page 26, lines 4-6 (Doc. No. 239-1)).

        Restoring the functionality of the links on the hard drive that was produced by Defendants

in April 2012 was not among the Defendants’ suggested solutions.6

              K. Defendants Misrepresented The Reasons Why They Wanted To Continue An
                 Evidentiary Hearing on the Critical Issue of the Database




6
 It is worth noting again that the hard drive produced in April 2012 was what the Defendants submitted in order to
purge Defendant Timothy McCallan of contempt.
                                                        30




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       On October 29, 2012 – only one week before the upcoming evidentiary hearing as to

whether the database had been produced in a useable format – Defendants filed an emergency

Motion To Continue on the grounds that: (1) Hurricane Sandy would impede their ability to

communicate with their clients and witnesses; and (2) while professing not to concede that

Plaintiff’s Motion To Compel was meritorious, Defendants explained that they were working on

yet another production that might “moot” Plaintiff’s Motion To Compel. (11-3007, Doc. No. 210).

After telephonic hearings the Court held on November 5 and 19, 2012 to obtain updates on the

status of Defendants’ ability to communicate with their counsel following the hurricane, the Court

continued the evidentiary hearing on Plaintiff’s Motion To Compel to January 29, 2013. (Doc.

No. 216). As it turns out, again, the Defendants were not telling the truth when they blamed

Hurricane Sandy for their inability to be prepared for the November 2012 hearing. This Court

later learned that all of the operational servers and nearly all of Defendants’ witnesses were in

Florida at the time. (PX 346).

           L. Defendants Finally Produced a Fully Functional Database More Than A Year
              And a Half After It Was Originally Requested

       Then, on November 26, 2012 – 567 days from date the Defendants were originally served

with the discovery requests at issue – Defendants delivered yet another hard drive to Plaintiff. (PX

342). This time – for the first time – the hard drive delivered by the Defendants contained: (1)

both databases; (2) both front end applications; and (3) operational links to the documentary

evidence (both the correspondence generated by the program and the documents scanned in as

hard copies). (PX 342).

           M. Plaintiff Learned There Was Much More Relevant Information That
              Defendants Had Refused To Produce


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       On January 23, 2013, Plaintiff filed another Motion for Sanctions, describing at length the

Defendants’ conduct in this case. (11-3007, Doc. No. 224). The next day, the Defendants filed an

Emergency Motion for Protective Order and for Briefing Schedule on Plaintiff’s Motion for

Sanctions. (11-3007, Doc. No. 227). On January 25, 2013, this Court scheduled a hearing for

Plaintiff’s Motion for Sanctions for February 21, 2013. (11-3007, Doc. No. 236).

       In their response to Plaintiff’s Motion for Sanctions, Defendants unequivocally stated to

this Court that “[t]he November 2012 Hard Drive did not contain any new or additional

information or documents.” (11-3007, Doc. No. 239). However, at the February 2013 hearing,

this Court learned that there was, in fact, additional information in the November 2012 production

that was not included in the production of April 2012, the production for which Mr. McCallan was

purged of contempt. (PX 346, page 64, lines 8-25; page 65, lines 1-25; page 66, lines 1-25; page

67, lines 1-8). In fact, it was not until this February 2013 hearing that Defendants first revealed

that there were also multiple servers in Florida that were responsive to Plaintiff’s discovery

requests that had not been turned over. Defendant McCallan testified:

       Q:      Tell us why you and the other defendants have not been jumping up and
               down, making it clear these servers physically resided at CNI in Florida,
               unaltered, that somebody could go and get them, look at them, copy them,
               whatever, why in the world weren’t the court and we told that?

       A:      It is a technical question, sir, I can’t answer. It would have saved me a lot
               of money if it was. . .that simple.

(PX 346, page 138, lines 5-13). Defendant McCallan further testified:

       Q:      Since March 2012, have you done everything in your power to assemble the
               correct team and the right people to make sure that you provide the plaintiff
               with what they are looking for?

       A:      Since that infamous day in my life, I have done everything in my power
               financially, emotionally, and mentally to make sure that this was delivered

                                                32




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              to the best of my ability and my team’s ability with everything that I had;
              and I have done everything in my heart to put this on the table to make it
              right, at a great cost not just monetarily but in many other fashions, and I
              intend to continue to go ahead and so until this is brought to a head and a
              final outcome on this case. So absolutely.
       ...

       Q:     Are any of the defendants hiding any information from the plaintiff?

       A:     No.

(PX 346, page 141, lines 5-17; page 142, lines 5-7).         Moreover, Vanessa Vinicombe, the

Defendants’ former CFO, testified under oath at that same February 2013 hearing:

       Q:     Ms. Vinicombe, since you have been involved in this case, have you made
              every effort to ensure that the Plaintiff has received every bit of information
              that was in Americorp’s possession relating to Allegro Law?

       A:     Yes, I have.

(PX 346, page 269, lines 24-25; page 270, lines 1-3). Both Defendant McCallan’s testimony and

Vanessa Vinicombe’s testimony was false. On July 2, 2013, Defendant McCallan sent an email

to Ms. Vinicombe and one of his counsel stating that all of the following relevant documents were

in a storage facility in Florida and were not part of the database that Defendants had previously

produced:

       Allegro wire confirmation – “These would not be included in the database.”

       Allegro check registers – “These are not in the database.”

       Allegro transaction journal entries – “This is not part of the database.”

       Allegro cash receipts journals – “This is not part of the database.”

       EFT File to Vanco – “These reports are not part of the database.”

       Allegro bank statements – “These reports are not part of the database.”

       Allegro wire approvals – “These would not be part of the database.”

                                                33




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(PX 337B-1).

        On June 6, 2013, Defendants’ second set of attorneys filed Motions To Withdraw. (11-

3007, Doc. Nos. 277 and 278). This Court set a hearing on the Motions To Withdraw for July 22,

2013 and stated at the end of its Order: “If the Plaintiff has been given access to the Defendant’s

servers since the February 21-22 hearings, the parties should be prepared to update the Court.”

(Doc. No. 279). Under the threat of additional sanctions, and with a hearing fast approaching on

Plaintiff’s Second Motion for Sanctions, Defendants finally made additional Allegro-related

servers and documents not previously produced available to the Plaintiff in mid-July, a process

that was completed only 5 days before defense counsels’ motions to withdraw were to be heard.

(PX 108; Transcript of November 4, 2013 Trial, page 24, lines 10-13).

             N.           Defendants Failed To Show Up At Trial

        As demonstrated above, from the very beginning of this case, the Defendants made a

deliberate decision to do everything in their power to avoid producing any documents or answering

any questions related to what the Defendants did with over one hundred million dollars in

payments made by Allegro customers to Allegro Law, LLC. When Defendants were finally forced

to produce documents, they refused to help educate either the Plaintiff or this Court as to what

those documents meant or how they should be interpreted. Every single thing that the Defendants

have done in this case has been designed to thwart the Plaintiff’s efforts with respect to his claims

of turnover, accounting and fraudulent transfers. The trial was no exception.

        A trial in this matter was held on November 4, 2013.7 The November 4th trial date had

been set 8 months earlier on March 8, 2013. (11-3007, Doc. No. 253). Pretrial disclosures were


7
 On September 20, 2013, this Court consolidated for trial the claims against The Achievable, Inc. in Adv. P. No. 11-
3015 with the claims against Americorp, Seton, and Timothy McCallan in Adv. P. No. 11-3007. (Doc. No. 316).
                                                        34




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due on October 21, 2013 and objections to those disclosures were due on October 28, 2013. (11-

3007, Doc. No. 253). Defendants’ new counsel attended the pre-trial conference held by this Court

on October 28, 2013. (11-3007, Doc. No. 326). The Defendants filed no pre-trial disclosures of

witnesses or exhibits and made no objections to any of Plaintiff’s exhibits and witnesses.

However, after more than 2 ½ years of very aggressive litigation, neither the Defendants nor their

counsel showed up for trial. Neither the Defendants nor their counsel informed this Court or

Plaintiff of that decision ahead of time.

            As reflected above, the years of litigation leading up to the trial were arduous, as McCallan

and the other defendants went to extraordinary lengths to hide their fraudulent scheme. McCallan

has acted with utter contempt for this Court, the Trustee, and the tens of thousands of Allegro

victims.

     III.      The Pattern Of Discovery Abuse Repeated Itself In The Post-Judgment Discovery
               Phase Of This Litigation

            Following the entry of the February 2016 judgment, which McCallan and the other

defendants did not appeal, the Trustee commenced post-judgment discovery as part of her8

collection efforts on behalf of the Allegro estate. Post-judgment, this Court has entered 19

additional orders and conducted 7 evidentiary hearings9 to compel McCallan to fully and truthfully

respond to the Trustee’s post-judgment discovery requests. (Doc. Nos. 383, 391, 396, 449, 450,

451, 461, 572, 576, 583, 588, 592, 618, 629, 707, 709, 771, 790, 800). McCallan’s pattern of




8
 Daniel G. Hamm litigated this adversary proceeding as the plaintiff in his official capacity as Trustee of the
underlying Chapter 7 bankruptcy cases. Hamm retired in November 2015 and was replaced as the Trustee in the
underlying cases and this adversary proceeding by Carly B. Wilkins. (Case No. 10-30631, Doc. 5582).
9
 These hearings took place on October 6, 2016, October 21, 2016, October 23, 2017, January 30-31, 2018, May 24-
25, 2018, November 8, 2018, and May 6-7, 2019.
                                                        35




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behavior in the post-judgment phase of this litigation is remarkably like McCallan’s behavior

during the merits phase.

       A. McCallan Failed To Respond To Post-Judgment Interrogatories And Requests
          For Production

       On May 18, 2016, the Trustee filed her First Post-Judgment Interrogatories (Doc. No. 372)

and First Post-Judgment Request for Production (Doc. No. 373) to McCallan, Americorp, Inc.,

Seton Corp., and The Achievable, Inc. McCallan is the 100% owner of all three of these companies

(16-07524, Doc. No. 13, at pages 7-8), which were all defendants in the underlying merits

litigation. McCallan’s responses were due on June 17, 2016, but he did not file any responses. On

June 24, 2016, the Trustee filed a Motion To Compel responses to her first post-judgment

discovery (Doc. No. 375).

       After a hearing, on August 9, 2016, this Court entered an Order giving McCallan and the

other defendants until August 16, 2016 to serve their responses to the Trustee’s post-judgment

Interrogatories and Request for Production (Doc. No. 383). Neither McCallan nor any of the other

defendants filed any discovery responses by the August 16, 2016 deadline. On August 17, 2016,

the Trustee filed a Motion For Sanctions based on McCallan’s and the other defendants’ failure to

comply with this Court’s August 9, 2016 Order requiring them to respond to the Trustee’s post-

judgment discovery requests. (Doc. No. 386).

       On September 29, 2016, this Court entered an order finding that neither McCallan nor any

of his companies had made any effort to comply with the Court’s August 9, 2016 Order. (Doc. No.

391). This Court then ordered McCallan to appear on October 6, 2016 to show cause why he

should not be held in contempt of court. (Doc. No. 391).



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       On October 5, 2016, hours before the show cause hearing was scheduled to take place,

McCallan filed his responses to the Trustee’s First Post-Judgment Request for Production.

McCallan did not supplement his answers to the Trustee’s First Post-Judgment Interrogatories at

that time.

       B. This Court Entered An Order Finding McCallan In Civil Contempt Again

         On Thursday, October 6, 2016, this Court conducted an evidentiary hearing on the order

to show cause. At the conclusion of that hearing, this Court found:

       I entered an order on August 9 requiring the defendants to comply with a previous,
       you know, order granting them – there’s been a motion to compel – the motion for
       sanctions. Heard the testimony of Mr. McCallan, who testified for well over an
       hour, maybe an hour and a half, a number of witnesses. It’s clear beyond all doubt
       that the – that, number one, the production of documents and the interrogatories
       was not complete; therefore, he is in contempt of court. You know that there were
       questions about things like offshore income and trusts and things like that and, Mr.
       McCallan, you’re not telling the truth. I’ve looked at the documents. I’ve listened
       to you, you know. You’re in contempt of court and you’ve come here and you’ve
       lied today.

(Transcript of October 6, 2016 Hearing, at page 79, lines 3-16. (emphasis added)).

       On October 6, 2016, this Court entered an order finding McCallan in contempt of court and

compelling him to purge himself of contempt. (Doc. No. 396). This Court found that McCallan

“willfully violated” the Court’s Order of August 9, 2016 and that McCallan’s testimony on certain

subjects was “incredible.” Id.     This Court ordered McCallan to file and serve supplemental

answers to the Trustee’s Post-Judgment Interrogatories and supplemental responses to the

Trustee’s Post-Judgment Request for Production by October 18, 2016. (Doc. No. 396). At the end

of the hearing, this Court concluded:

       I’m going to put this in writing, going to give it to everybody who cares to look that
       I’ve heard the testimony and that I’ve found that Mr. McCallan is in contempt.
       And just the fact that you’re not in jail doesn’t mean you’re not in contempt

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        and – or that you’re not under a duty to purge yourself. And you’re going to
        have to do that. The second go around we have, you know, things may be different.

(Transcript of October 6, 2016 Hearing, at page 80, lines 22-25, page 81, lines 1-4 (emphasis

added)). This Court warned McCallan: “[Y]ou’re under a duty, you know, and I want no more

oversights, omissions, you know, I forgot about this or I forgot about that.” (Transcript of October

6, 2016 Hearing, page 81, lines 15-17).

        C. McCallan Continued To Hide Assets While He Remained In Contempt

        On Friday, October 7, 2016, the Trustee filed a Request for Entry Upon and Inspection of

Premises, seeking an inspection of McCallan’s property at 6730 Still Point Drive in Melbourne,

Florida and requesting that the Court enter an order prohibiting McCallan from removing personal

property or allowing it to be removed.

        On Monday, October 10, 2016, the Trustee filed a Process of Garnishment to Wells Fargo

Bank seeking money and property for the satisfaction of the February 2016 judgment against

McCallan. (Doc. No. 300). On Tuesday, October 11, 2016, before the Process of Garnishment

could be served on Wells Fargo, McCallan obtained a cashier’s check from Wells Fargo in the

amount of $388,285.14, which he withdrew from his account ending 0716. (Transcript of March

27, 2017 Hearing, page 38, lines 16-20). On October 10 and 11, 2016, the Trustee filed her Second

and Third Post-Judgment Requests for Production to McCallan, respectively. (Doc. Nos. 399 and

407).

        On Saturday, October 15, 2016 – 8 days after the Trustee filed her Request for Inspection

– the Trustee’s investigator videotaped McCallan and Joseph Sclezo, III at McCallan’s residence

loading items from McCallan’s garage into a U-haul truck. Mr. Sclezo also was videotaped

removing boxes from a storage unit rented in McCallan’s name at Viera Storage in Melbourne,

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Florida and transporting those boxes to a storage unit rented only in Mr. Sclezo’s name at a

different storage facility, StoreSmart Storage in Rockledge, Florida. (Transcript of October 21,

2016 Hearing, page 19, line 2 through page 21, line 10).

       On Monday, October 17, 2016, McCallan filed an Objection to the Trustee’s Request for

Inspection, representing to the Court that “due to the recent hurricane in Florida, Defendant has

been delayed.” (Doc. No. 437, at ¶ 9). McCallan also represented to the Court that, because

“Defendant’s home has suffered damage due to the recent hurricane,” McCallan needed “the

inspection [to] be delayed for a short amount of time.” (Doc. No. 437, at ¶ 3). This Court set the

matter for a hearing on Friday, October 21, 2016. The uncontradicted testimony and evidence at

the October 21, 2016 hearing conclusively proved that there was no hurricane damage whatsoever

to McCallan’s property at 6730 Still Point Drive. (Transcript of October 21, 2016 Hearing, page

23, line 25 through page 24, line 5). Just as McCallan had falsely claimed that Hurricane Sandy

inhibited his ability to produce databases that were actually stored on servers 1,100 miles away in

Florida, McCallan falsely claimed that Hurricane Matthew inhibited his ability to make his home

available for inspection.

       After conducting a hearing on October 21, 2016, this Court entered an order finding that

“Defendant McCallan remains in contempt, has failed to purge himself of contempt, and has

committed additional acts of contempt since the October 6, 2016 hearing.” (Doc. No. 449, at ¶ 4)

(emphasis added). This Court also found that “Defendant Timothy McCallan has perpetrated a

fraud upon the Court by misrepresenting the reasons that he failed to purge himself of contempt

and instead seeking additional time from this Court for the purpose of moving, hiding, and




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otherwise disposing of assets that could otherwise be used to satisfy the judgment against him in

this matter.” (Doc. No. 449, at ¶ 3) (emphasis added).

       In its October 21, 2016 Order, this Court made clear that “[i]f Defendant McCallan fails to

comply fully with this [October 21, 2016] Order, and/or if he fails to fully and accurately respond

to all of [the Trustee’s] post-judgment discovery within 7 days of the entry of this Order, this Court

will order the United States Marshall to arrest Defendant McCallan and bring him before this Court

forthwith.” (Doc. No. 449, at ¶ 11) (emphasis added). The deadline for McCallan’s compliance

was Friday, October 28, 2016. Six days after that deadline had lapsed, McCallan asked this Court

to extend the deadline to account for the money until November 10, 2016. (11-3007, Doc. No.

476). McCallan never complied.

       D. McCallan Filed Chapter 7 Bankruptcy Petition In An Attempt To Obtain A
          Change Of Venue

       McCallan’s answers to the Trustee’s second and third post-judgment discovery requests

were due on November 11, 2016, and an extension was granted until November 18, 2016. (Doc.

Nos. 399 and 407).      These discovery requests sought detailed information and documents

regarding financial transactions and transfers involving McCallan. Instead of responding to the

Trustee’s discovery on November 18, 2016 (the date of the extended deadline), McCallan filed his

Chapter 7 bankruptcy petition. The filing of McCallan’s Chapter 7 petition was designed to avoid

having to comply with the orders of this Court.

       On February 17, 2017, the Trustee filed a Motion To Transfer McCallan’s bankruptcy case

pursuant to Rule 1014(b), Fed. R. Bankr. P. and 11 U.S.C. § 105(a). (10-30631, Doc. No. 5613).

In McCallan’s response to the Motion To Transfer, he represented that the “sole purpose in filing

this Chapter 7 was to have an independent Chapter 7 trustee properly collect and reduce the money

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and property of the estate.” (10-30631, Doc. No. 5620, at pages 1-2). The Trustee, on the other

hand, took the position that the real purpose for which McCallan filed a Chapter 7 petition in

Florida was to have the Florida trustee “administer those assets which he saw fit to disclose…and

something substantially less than all of his assets.” (Transcript of March 27, 2017 Hearing, page

4, lines 17-20). This Court conducted an evidentiary hearing on the Motion To Transfer on March

27, 2017.

         At the March 27, 2017 evidentiary hearing, the Trustee introduced McCallan’s testimony

from the January 31, 2017 Meeting of Creditors conducted in Orlando, Florida, which included

the following:

         Ms. Tufts:       Other than what’s listed on Exhibit 1, [your bankruptcy] schedules, is there
                          any money, personal property, real property, anywhere in the world which
                          you could [get] or could have gotten money to pay for any expense of yours
                          in 2014, 2015, or 2015?

         McCallan:        That I don’t have listed?

         Ms. Tufts:       Right.

         McCallan:        No.

(TX 9, page 18, lines 18-25). 10

         In his original bankruptcy schedules, McCallan reported $16,366 in income from January

1, to December 31, 2015 and no income from January 1, 2014 to December 31, 2014. (TX 3,




10
  References to Trustee’s Exhibits in Section III of this order are references to exhibits introduced in the post-
judgment phase of this case, the majority of which were introduced at evidentiary hearings in March 2017, October
2017, and January 2018. Exhibits introduced in the post-judgment phase contain the prefix “TX” while those
introduced in the merits phase contain the prefix “PX.”

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pages 1-2).11 McCallan also reported $12,533 in rental income in 2015. (TX 3, page 2).12

McCallan had previously testified that his wife made $1,000 or less each month in 2015. (TX 9,

page 30, lines 13-20).

         At the March 27, 2017 evidentiary hearing, the Trustee called Allen Carroll, an expert in

forensic accounting, who testified that McCallan’s testimony at the 341 Meeting of Creditors and

the statements he made on his bankruptcy schedules were “wildly different” from the amount of

money going in and out of McCallan’s bank accounts in 2015 and 2016. (Transcript of March 27,

2017 Hearing, page 24, lines 18-23).

         Mr. Carroll testified that, based on his analysis of only one of McCallan’s hundreds of bank

accounts over the last 10 years, McCallan deposited approximately $350,000 in 2015 that was

neither a transfer from another account nor a tax refund. Additionally, his bank statements for that

account also reflected $347,650.48 in withdrawals for 2015. (Transcript of March 27, 2017

Hearing, page 27, lines 3-12; TX16).              Mr. Carroll also analyzed an income and expense

spreadsheet for 2015 that was obtained from McCallan’s computer that was cloned by the Trustee

as part of the October 21, 2016 inspection of McCallan’s home. (Transcript of March 27, 2017

Hearing, page 29, lines 12-20; TX17). McCallan’s personal income and expense spreadsheet for

2015 reflected that he had $679,073.82 in income from all sources in 2015 and approximately




11
  In his June 23, 2017 amended schedules, McCallan revised these figures to $5,944 in income for 2015 and
$171,927 in income for 2014. (17-30961, Doc. No. 178, page 18).
12
  In his June 23, 2017 amended schedules, McCallan disclosed $187,908 in additional income from Peter McCallan
in 2015. (17-30961, Doc. No. 178, page 18). This transfer is discussed in greater detail below, but this transfer
occurred in late December 2015 and cannot explain the other evidence presented by the Trustee that McCallan’s
income was substantially more in 2015 than McCallan represented on his schedules. (TX 168, reflecting a $187,908
deposit into McCallan’s Wells Fargo bank account ending 0716 on December 28, 2015).

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$420,000 in expenses paid in 2015. (Transcript of March 27, 2017 Hearing, page 29, lines 21-25;

page 30, lines 1-9; TX17). Mr. Carroll concluded:

       McCallan’s spending far exceeds the amount that he’s reported as being earned by
       he and his wife…he’s either earning monies that have not been disclosed or he has
       undisclosed assets from which he’s drawing upon to make up the difference.

Id., page 28, line 25, page 29, lines 1, 4-6. The Trustee then offered evidence of large undisclosed

transfers, which included transfers between Timothy McCallan and his brothers Peter McCallan

($187,908) and Robert McCallan ($15,000), as well as an undisclosed coin sale in June 2015 of

over $23,000. Id., page 31, lines 20-25; page 32, lines 1-9; page 34, lines 1-13; page 17, lines 5-

22. The evidence also showed an unexplained transfer to McCallan’s wife in the amount of

$330,000. (TX 195).

       On March 30, 2017, this Court entered an order transferring McCallan’s Florida

bankruptcy case to the Middle District of Alabama. (17-30961, Doc. Nos. 61 and 62). On May

2, 2017, the Trustee filed a Motion for Relief from the Automatic Stay to pursue “post-judgment

discovery, contempt proceedings, sanctions, and any other aspect of the 11-3007 adversary

proceeding with the exception of duplicative collection.” (17-30961, Doc. No. 99). This Court

granted the Motion For Relief from the Automatic Stay on June 22, 2017. (17-30961, Doc. No.

175). Notably, while the Trustee was prohibited from pursuing post-judgment discovery in the

11-3007 matter until the relief from stay was entered, nothing prohibited McCallan from

responding to the Trustee’s post-judgment discovery.

       E. Following The Transfer Of McCallan’s Bankruptcy Case To Alabama And The
          Order On Relief From The Automatic Stay, Post-Judgment Discovery
          Recommenced




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       On the same date that the automatic stay was lifted, Plaintiff sent a letter to McCallan

requesting that he do the following within 7 days:

   •   Submit complete and accurate responses to Plaintiff’s First and Second Post-Judgment
       Interrogatories to McCallan;

   •   Submit complete and accurate responses to Plaintiff’s First, Second, and Third Post-
       Judgment Requests for Production to McCallan;

   •   Produce all documents necessary to comply with the Court’s October 21, 2016 Order; and

   •   Submit complete and accurate responses to Plaintiff’s First Post-Judgment Interrogatories
       and Requests for Production to Americorp, Inc., Seton Corp., and The Achievable, Inc.

(Doc. No. 569).

       On June 23, 2017, Defendant McCallan responded that he could not produce the discovery

requested within 7 days and requested clarification with respect to the outstanding discovery

requests. The Trustee responded by extending Defendant’s deadline to respond by 3 weeks to July

14, 2017. (Doc. No. 569).

       Also on June 23, 2017, McCallan amended his bankruptcy schedules to include items that

the Trustee in this litigation had already questioned him about in previous hearings (e.g., Peter

McCallan transfer of $187,908 and the “sale of coins”). (17-30961, Doc. No. 178). Notably,

neither the transfer from McCallan’s brother nor the sale of coins was disclosed on the original

Statement of Financial Affairs filed with the bankruptcy court in Florida (and might very well have

gone undiscovered by a Trustee unfamiliar with the history of this case). Instead, McCallan only

disclosed these assets once the case was transferred back to Alabama, where the Trustee had

already discovered them on her own. (Compare 17-30961, Doc. 14, Question 5 with 17-30961

Doc. 178 Question 5).



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       On June 29, 2017, the Trustee provided McCallan with a detailed description of the

deficiencies in his discovery responses. (Doc. No. 569). On July 14, 2017, McCallan requested

an additional two weeks to respond to the Trustee’s discovery. The Trustee refused to extend the

deadline again. Id.

       F. The Trustee Filed A Third Motion For Sanctions For Repeated Abusive Discovery
          Practices And McCallan Blamed A Third Hurricane For His Inability To Timely
          Respond To Post-Judgment Discovery

       On July 22, 2017, the Trustee filed her Third Motion for Sanctions in this matter. (Doc.

No. 569). This Court conducted a hearing on August 15, 2017. (Doc. No. 570). On August 22,

2017, this Court entered an order requiring as follows:

       (1) McCallan shall comply fully with all outstanding post-judgment discovery
           requests and orders not later than September 15, 2017. Each response shall be
           clearly labeled so that it can be readily determined which response corresponds
           to which request.

       ...

       (2) All post-judgment discovery shall be supplemented so that it is current as of
           September 15, 2017. For example, if McCallan had a bank account in First
           Bank on January 1, 2017, but closed the account and transferred all funds to
           Second Bank on September 1, 2017, the supplemental response should include
           the new bank account.

       (3) McCallan shall provide a complete accounting for all funds in his Wells Fargo
           Account No. XXX-0716. The accounting shall be complete through September
           15, 2017. For all amounts transferred out of the account, McCallan shall
           provide an accounting for any account into which funds were transferred.

(Doc. No. 572).

       One week before the new deadline, McCallan filed an Emergency Motion To Extend Time

to Submit Post-Judgment Discovery Responses (Doc. No. 575). Incredibly, McCallan blamed a

third hurricane for his inability to comply with this Court’s orders. This time, McCallan asserted

that Hurricane Irma rendered him “unable to spend time on the discovery request[s] for the last
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two days due to the necessary preparations before the storm arrives.” (Doc. No. 575, ¶ 2). In its

order granting McCallan one additional week to comply (making the deadline September 22,

2017), this Court noted that “McCallan has a history of misrepresenting the effects of natural

disasters on his ability to prepare.” (Doc. No. 576).

       G. McCallan Filed Another False Affidavit Regarding His Attempts To Comply With
          Discovery Requests

       McCallan produced a few documents by the September 22, 2017 deadline. (Doc. No. 578).

He produced a set of tax returns on September 28, 2017. (Doc. No. 578). McCallan did not

produce any additional documents until October 16, 2017 – just one week before the scheduled

evidentiary hearing. On the same day, McCallan filed a response to this Court’s show cause order.

(Doc. No. 578). In it, McCallan made the following representations, none of which turned out to

be true:

       •   “Mr. McCallan has taken all steps humanly possible to comply [sic] the most
           accurate information.” (Doc. No. 578, ¶ 3).

       •   “Mr. McCallan has taken every effort to collect the data requested.” (Doc. No.
           578, ¶ 4).

       •   “Mr. McCallan has provided the information request[ed] to the best of his
           ability and has therefore purged himself of any contempt.” (Doc. No. 578, ¶ 6).

       •   “I have uploaded most, if not all, relevant documents to Dropbox and
           organize[d] them according to the questions asked, documents requested and
           subject matter.” Affidavit of Timothy McCallan, page 2 (attached to Doc. No.
           578).

(Doc. No. 578). In his response to the Show Cause Order, McCallan stated that he had signature

authority on 194 bank accounts over the last eleven years. (Doc. No. 578, ¶ 4). However, the list

of bank accounts that McCallan produced only included 158 accounts. (TX61). This left 36 bank



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accounts that McCallan has admitted exist but for which he has provided no identifying

information.13

         On October 19, 2017 – four days before the scheduled evidentiary hearing – McCallan

sought yet another continuance. (Doc. No. 580, ¶ 6). McCallan again misrepresented that he had

“complied with the post-judgment discovery request.” (Doc. No. 580, ¶ 2). This Court denied the

request for continuance. (Doc. No. 583).

         H. McCallan Was Arrested A Second Time For Civil Contempt

         At the October 23, 2017 evidentiary hearing, Mr. Carroll, the Trustee’s forensic accountant,

testified about a schedule he developed regarding McCallan’s net income less taxes for 2007, 2008

and 2009, which totaled $12,442,501. (TX 117). Mr. Carroll testified that had this money been

prudently invested and grown at 5% per year from the time it was earned to the present, the sum

would have grown (before deduction of living expenses and things of that nature) to $19,266,081.

(TX 117). McCallan indicated on his Second Supplemental Responses to Plaintiff’s First Post-

Judgment Interrogatories that he “no longer has any bank accounts joint or single.” (TX 53). After

going back over the evidence of McCallan’s income and expenses in 2015 and 2016, Mr. Carroll

testified again, as he had at the hearing on March 27, 2017: “[McCallan’s] income and expenses

far outpace those reflected on the bankruptcy schedules and [what’s] been reported. And again,

which means that there are either earnings that are not disclosed or there are assets – undisclosed

assets which are being drawn upon to make up the difference.” (Transcript of the October 23,

2017 Hearing, page 36, lines 10-15).




13
  Mr. Carroll later testified that he has never in his 30 years of practicing public accounting seen either an individual
or an entity have more than 150 bank accounts. (Transcript of October 23, 2017 Hearing, page 30, lines 18-23).
                                                          47




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         McCallan testified at the October 23, 2017 hearing that the discovery responses he

provided were “an open book” and that he was “confident” of that representation. (Transcript of

the October 23, 2017 Hearing, page 45, lines 5-15). Under cross examination, however, McCallan

admitted that all the Dropbox folders14 associated with the post-judgment requests for production

about which the Trustee’s counsel inquired – including those relating to transfers to McCallan,

transfers by McCallan, money paid to McCallan, money paid out by McCallan, documents relating

to his financial status, and documents relating to financial information about him – were empty.

(Transcript of the October 23, 2017 Hearing, page 83, line 24 through page 86, line 13).

         After that hearing, this Court found that McCallan remained in contempt of court and

ordered him taken into custody by the U.S. Marshal. (11-3007, Doc. No. 583). This Court

concluded that “McCallan’s claims of compliance were false,” ordered McCallan to “produce the

required discovery or prove that he cannot,” and cautioned McCallan to be candid with the Court

in the future “[g]iven [his] long history of lying to the Court and flouting its orders.” (11-3007,

Doc. No. 583).

         I. Despite Having The Burden Of Proof, McCallan Offers No Evidence At The
            January 2018 Evidentiary Hearing To Demonstrate He Had Complied With The
            Court’s Discovery Orders Or That Compliance Was Impossible

         Following another hearing on January 9, 2018, this Court entered an order stating that it

“previously found that the Trustee had shown, with clear and convincing evidence, that McCallan

had violated this Court’s August 22, 2017 Order…The burden is now on McCallan to show, by a

preponderance of the evidence, that he is in compliance and that to require any more of him is

impossible.” (11-3007, Doc. No. 618). This Court also reiterated, as it had previously held:


14
  Dropbox is an online service used, in part, for file sharing. Dropbox was the primary way that McCallan
produced documents to the Trustee.
                                                       48




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“McCallan’s incarceration is civil in nature and therefore coercive and not punitive. McCallan

holds the keys to his jail cell in his pocket. He need only produce the required discovery or prove

that he cannot, to secure his release.” (11-3007, Doc. Nos. 583 and 618).

       This Court set a fourth post-judgment evidentiary hearing for January 30, 2018 to receive

McCallan’s testimony and evidence on compliance and/or impossibility. McCallan offered no

evidence at the January 30, 2018 evidentiary hearing. Despite having the burden of proof,

McCallan’s counsel stated at the outset of the hearing that “we have no presentation, we just have

rebuttal…we have nothing to present at this time.” (Transcript of January 30, 2018 Hearing, page

6, lines 15-16, 18-19). Following the Trustee’s presentation of evidence, McCallan called no

witnesses and offered no evidence in rebuttal. After that hearing, this Court again found that

McCallan had failed to purge himself of contempt and ordered that his incarceration continue. (11-

3007, Doc. No. 629).

       J. McCallan Unsuccessfully Attempts To Discredit TX257

       On April 11, 2018, after an unsuccessful appeal, McCallan filed a signed certification that

he had complied with the Court’s February 6, 2018 Order (11-3007, Doc. No. 629). In that

certification, McCallan wrote: “My wife, Jeannie McCallan, and Kellie Eckstein have reviewed

and organized the documents and accountings. I trust that they have provided any and all

documents that have been requested. I have given them instructions on where the documents are

located.” (11-3007, Doc. No. 699). On April 17, 2018, for the purpose of helping improve the

efficiency of Plaintiff’s review of the production, Plaintiff sought from McCallan “[a]n accounting

of the $16 million in distributions described in TX257, directing us to the documents that

demonstrate (a) how that money was spent or used; (b) the assets that money was used to purchase;


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(c) the accounts where that money is saved; and/or (d) the gifts that money was used to make.”

(11-3007, Doc. No. 703, at ¶ 4). On May 9, 2018 – two days before Plaintiff’s response to

McCallan’s certification was due – Defendant produced a 48-page15 spreadsheet that purports to

“account” for the $16 million in distributions he received between 2007 and 2015 (as summarized

on TX257).

           On May 15, 2018, McCallan filed another Motion for Immediate Release of Defendant and

Request for Emergency Hearing. (11-3007, Doc. No. 704). In that motion, McCallan argued that

“the attorneys for the [T]rustee are searching for ‘phantom documents” and “[w]hen given an

explanation, backed by numbers and documents, they are not satisfied.” (11-3007, Doc. No. 704,

at ¶ 8).

           On May 23, 2018, this Court entered an Order that drew a simple conclusion:

           For all of the length, breadth, and weight of these proceedings, the bottom line
           remains simple. McCallan owes more than $100,000,000. The evidence shows
           and the Court finds that McCallan has secreted millions of dollars’ worth of money
           and property in locations presently unknown to the Trustee. Until he discloses all
           of his property and turns over all of his ill-gotten gains, he remains in contempt.

(11-3007, Doc. No. 707).

           This Court conducted a hearing on May 24-25, 2018 to determine whether McCallan had

purged himself of contempt by making the full and complete disclosure of his secreted money and

property that the Court has repeatedly ordered him to make. At that hearing, McCallan and Kellie

Eckstein testified at length about her 48-page spreadsheet (TX297). Among the myriad of errors

and falsehoods in the spreadsheet produced by McCallan and revealed on cross examination were:

           •   Cash withdrawals from banks and ATMs totaling more than $1.4 million were assumed
               to be spent and were therefore deducted from the $16.2 million gap (Transcript of May
               24, 2018 Hearing, page 161, lines 2-10);
15
     This spreadsheet is 48 pages only when printed on 11”x17” paper.
                                                         50




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       •   Coins and metals purchases in excess of $920,000 were deducted from the $16.2
           million gap even though McCallan still had possession of the asset in a different form
           (Transcript of May 24, 2018 Hearing, page 190, lines 5-18);

       •   $4.76 million of “checks posted,” without any information as to whom the checks were
           written or for what purpose, was deducted from the $16.2 million gap, even though one
           of these checks was a $330,000 check to Jeannie McCallan (Transcript of May 24, 2018
           Hearing, page 219, lines 11-25; page 220, lines 1-7; page 223, lines 19-25; page 224,
           lines 1-5; TX195);

       •   Any money that was moved to a company account, no matter what the reason or how
           long it stayed there, was deducted from the $16.2 million gap despite evidence that
           these monies often made their way right back to McCallan or his wife (Transcript of
           May 24, 2018 Hearing, page 233, lines 12-18; page 236, lines 5-12);

       •   Money that was loaned was deducted from the $16.2 million gap even though the note
           payable was an asset (Transcript of May 25, 2018 Hearing, page 23, lines 10-13).

At the conclusion of the May 2018 hearing, this Court concluded: “I think that Ms. Eckstein’s

analysis was thoroughly discredited in cross.” (Transcript of May 25, 2018 Hearing, page 2019,

lines 9-10). This Court also concluded: “So not only did McCallan fail to debunk the Carroll

analysis, the Carroll analysis I think is brilliant. It stood up to everything, in my view, and it’s the

Eckstein analysis that’s failed.” (Transcript of May 25, 2018 Hearing, page 2019, lines 10-13).

       In addition to thoroughly discrediting Ms. Eckstein’s analysis, the Trustee elicited

additional admissions from McCallan that strongly evidenced that he was secreting money and

assets. For example, McCallan testified that he had given Mr. Bobby San Filippo over $1.3

million, that Mr. San Filippo had only paid him back a total of $16,000, and, despite that, McCallan

was doing consulting work for Mr. San Filippo’s Island Vibes Tours business in Turks and Caicos

and Jeannie McCallan had dinner with Mr. San Filippo in the summer of 2018. (Transcript of May

25, 2018 Hearing, page 164, lines 11-13; page 165, lines 7-9, 16-22; Transcript of November 8,

2018 Hearing, page 54, lines 18-25; page 55, lines 1-4). McCallan also admitted that Mr. San


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Filippo’s Island Vibes Tours wrote checks to Jeannie McCallan, but testified “I don’t know why.”

(Transcript of May 25, 2018 Hearing, page 165, line 25; page 166, lines 1-19). McCallan professed

not to have the passwords to encrypted “BS spreadsheets” believed to be related to Bobby San

Filippo transactions (TX600), but jailhouse recordings made clear that McCallan knew exactly

what the password was. (TX601A, TX601B, TX601C, and TX601D). For example:

       Tim McCallan:         The only other outstanding thing is umm that BS Excel spreadsheet,

                             and think what that stands for.

       Bob McCallan:         Do what? Which Excel spreadsheet are you talking about?

       Tim McCallan:         Jeannie knows the guy…friends.

       Jeannie McCallan:     Oh.

       Tim McCallan:         Old friend.

       Jeannie McCallan:     The old (inaudible).

       Tim McCallan:         Yeah, yeah.

       Bob McCallan:         Okay. Alright, very good.

       Tim McCallan:         Um…Those are…

       Jeannie McCallan:     Are they?

       Tim McCallan:         Please don’t…Just let me…

       Bob McCallan:         Yeah, okay, we got it, we got it. What else do we got?

       Tim McCallan:         Umm…Those are…remember the words for that?

       Bob McCallan:         Remember the words?

       Tim McCallan:         We had…uh…the old dog. The first dog…Susie’s.

       Jeannie:              Oh, okay.


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       Bob McCallan:          Okay, we got it.

The password to the “Bobby San Filippo Excel Spreadsheets” did, indeed, turn out to be the name

of Mr. McCallan’s sister Susie’s dog, which he disclosed at the November 2018 hearing after being

confronted with this and other similar recordings. (Transcript of November 8, 2018 Hearing, page

115, lines 18-24). Evidence also later revealed that in August 2016, McCallan sent an email to

Mr. San Filippo with the subject line “Pass” and with the following in the body of the email:

                                 )ytp" JB l b#h$CA& )gPqwQK(f

(TX636). When asked what was so important that it had a password with this many characters in

it, McCallan testified that “partially that was a joke” and “it was access to some of the marketing

material that I was doing for them on their website.” (Transcript of November 8, 2018 Hearing,

page 122, lines 12-17).

       By way of other examples, McCallan also admitted that there was a second safe in his New

York house that he had not previously disclosed to the Trustee, that he stored cash and/or coins

under the stairs in his New York home, on a top sill in the wine cellar of his Florida home, and

elsewhere in Florida. (Transcript of May 25, 2018 Hearing, page 170, lines 6-9, 21-25; page 171,

lines 1-2; page 177, lines 13-17; page 178, lines 24-25; page 179, line 1).

       K. There Is Substantial Evidence Of Offshore Activity By and Through McCallan’s
          Closely Held Corporations

       At the November 8, 2018 hearing, the Trustee introduced numerous documents evidencing

offshore banking and business activity by and through McCallan’s closely held companies. For

example, the evidence demonstrated that McCallan’s companies were making substantial progress

on business arrangements with Allied Bank of Ireland and Visa/Cal out of Israel: “On the offshore

front I am attempting to finish up your deal with both Ireland and V/Cal.” (TX615). McCallan’s

                                                 53




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passport evidences a trip to Dublin, Ireland in July 2012. (Transcript of November 8, 2018

Hearing, page 135, lines 18-20). McCallan professed to have no knowledge whatsoever about

these banks:

         Q:      And so you’re telling us that you’re getting all these emails to and from people
                 talking about Allied Bank of Ireland and Visa/Cal Bank in Israel, and you’re saying
                 under oath you don’t have any idea what these banks are?

         A:      Absolutely, yes, that’s what I’m saying.

(Transcript of November 8, 2018 Hearing, page 136, lines 1-5).

         There is also evidence that McCallan had offshore interests in the Caribbean. McCallan

accepted an appointment as an officer in the Internet Millionaire Next Door, Ltd., a Nevis

Corporation (TX618), and his email correspondence made clear he had an account in Nevis: “I

just got the go-ahead on Tim’s account so let’s move forward with getting his Nevis Corp set up.”

(TX616). McCallan admitted that the Internet Millionaire Next Door, Ltd. was an offshore

corporation. (Transcript of November 8, 2018 Hearing, page 137, lines 22-25; page 138, lines1-

5). Notably, McCallan did not initially16 deny that he had an account in Nevis:

         Q:      [I]s it your sworn testimony that you went through all this and you never set
                 up a bank account in Nevis?

         A:      If I could get access to my computer, I could find out. If I could get access
                 to contacting [sic], looking around, I would be able to find out.

(Transcript of November 8, 2018 Hearing, page 139, lines 4-8).

         L.      McCallan Produces Approximately 6.4 Million More Pages Of Documents
                 Despite Having Repeatedly Told The Court Since 2011 That He Has Produced
                 Everything




16
   McCallan later denied having any offshore bank accounts. (Transcript of November 8, 2018 Hearing, page 149,
lines 15-18).
                                                      54




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         As described in detail above, since the first days of this litigation, McCallan has, directly

and through his attorneys, professed to have provided all relevant documents in response to the

Trustee’s discovery requests and then, only when confronted with proof he has not, provided more.

This pattern has repeated itself once again.

         On April 11, 2018, McCallan certified in a notarized pleading filed with this Court: “I

certify that the information provided is all of the information I have.” (11-3007, Doc. No. 699).

At the May 25, 2018 hearing, McCallan testified to the same thing:

         Q:      To your knowledge, has every document that you have in your care, custody, and
                 control been produced?

         A:      Every one, yes.

(Transcript of May 25, 2018 Hearing, page 183, lines 23-25).

          Echoing McCallan’s testimony, his counsel told the Court that “we are going to be 100

percent helpful” (Transcript of May 25, 2018 Hearing, page 199, lines 23-24), and went on to

argue:

         He’s given everything in his care, custody, and control and like the last time – and
         I’m sorry, your Honor, one last point, there wasn’t a single document that came out
         here in these two days, not a single document that hasn’t been provided. If he’s
         supposed to purge by answering the rogs and answering the interrogatories and
         doing the schedules, Your Honor, there’s not a single thing that came out when we
         were asking what’s missing, nothing.

(Transcript of May 25, 2018 Hearing, page 209, lines 19-25; page 210, line 1).17


17
  In the same argument, McCallan’s counsel argued: “You’re going to get assumption. You’re going to get
innuendo. You’re going to get flat-out lies about what something means on a document from the plaintiff’s side
because it’s a single piece of paper with no ability to go look at back-up. And that’s what we got today.”
(Transcript of May 25, 2018 Hearing, page 205, lines 22-25; page 2016, line 1). On May 29, 2018, this Court
entered an order warning McCallan and his counsel that this type of baseless accusation will not be tolerated:

         During closing arguments, McCallan’s counsel Scott Widerman accused the Trustee and her lawyers
         of lying and further complained they had not come to speak to McCallan. The Court notes that
         Widerman did not produce one shred of evidence that Trustee Carly Wilkins or her lawyers, Steve
                                                       55




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        Then, on September 13, 2018, Defendant filed yet another Motion To Determine

Compliance, asserting that he had purged himself of contempt and again requesting his release.

(11-3007, Doc. No. 765). The Court set a hearing on this motion for November 8, 2018. (11-

3007, Doc. No. 768). Two months later, on November 1, 2018, McCallan filed a Motion To

Continue, asserting that he had “voluminous” “newly discovered corporate accounting records”

that are “critical to both McCallan’s contempt issues in this Adversary Proceeding and the

Objection to Exemption Contested Matter in McCallan’s Chapter 7 proceeding.” (11-3007, Doc.

No. 773). McCallan’s Motion to Continue was denied. (11-3007, Doc. No. 777).

        At the November 8, 2018 Hearing, McCallan’s counsel asked to address the Motion To

Continue, asserting: “There was data that was held by the trustee that they sent back to us, and we

were able – there was a company that had a backup and some different – and I’m not the best with

computers, but they were able to unlock some of the things.” (Transcript of November 8, 2018

Hearing, page 5, lines 16-20). McCallan’s counsel went on to claim:

        There’s a group called CIN [CNI], Creative Networks Innovations. And they held
        the backup, and they were able to piece together this program called MAS 200. It’s
        an accounting similar to Peachtree or some of these accounting. And they were
        able to piece together from what we got from the trustee, you know, they had these
        servers. And we got – they mailed them back when I asked for them. And so
        they’re digging through mountains of raw data.

(Transcript of November 8, 2018 Hearing, page 6, lines 19-25; page 7, line 1). McCallan’s counsel

argued to the Court that “[t]hose other documents were always on that thing – on the servers that



        Olen and Lucy Tufts, lied to the Court. While Widerman and co-counsel Fritz’s representation of
        McCallan has been diligent and zealous, without otherwise stepping over the lines of the rules of
        ethics, the Court would caution Widerman that he did step over the line when he made that allegation
        during closing.

(11-3007, Doc. No. 709).

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the trustee had.” (Transcript of the November 8, 2018 Hearing, page 9, lines 14-16). Notably, at

the May 2018 hearing, Ms. Eckstein made the same allegation: “If we actually got the servers that

you guys have. You then – we could pull it out and it would specifically show us which tax

payments were paid for him [Tim McCallan] directly.” (Transcript of the May 24, 2018 Hearing,

page 155, lines 9-11).

       On January 4, 2019, McCallan filed yet another Motion To Determine Compliance, again

asserting he had purged himself of contempt and seeking immediate release. (11-3007, Doc. No.

787). In that motion, McCallan asserted that his team was able “to review every posted transaction

from the McCallan controlled companies and his personal check register.” (11-3007, Doc. No.

787, ¶ 13). McCallan also asserted that “[a]ll of the information used in the MAS 200 was in the

possession of the Trustee or CNI. The information was not in the care, custody or control of

McCallan until they responded to the subpoena. The Trustee was aware that CNI had previously

held such data. McCallan never hid that fact.” (11-3007, Doc. No. 787, ¶ 14). In his opening

statement at the May 6, 2019 Hearing, McCallan’s counsel made a similar assertion: “And so the

McCallan team went in to find this MAS 200. We got the servers that the trustee was holding.

We took those servers to CNI and, through the subpoena through CNI, we were able to open this.”

(Transcript of May 6, 2019 Hearing, page 12, lines 24-25; page 13, lines 1-2).

       The evidence did not support these assertions. On June 24, 2013, McCallan’s former

attorney Meredith Lees wrote a letter to the Trustee’s counsel related to cloning the servers located

at CNI in Florida. (TX653). NY-MAS was one of the servers listed in Ms. Lees’s letter as being

at CNI in June 2013. (TX653). Mr. Jeff Middleton, the Trustee’s IT expert, testified at the May

7, 2019 hearing that he cloned every server made available to him at both racks at CNI while he


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was there in July 2013, and that he did so by starting at the top of the rack and working his way

down. (Transcript of May 7, 2019 Hearing, page 31, lines 14-25). He also testified that he cloned

both physical and virtual servers that were identified by Synthis employee Pedro Castro18 as

belonging to McCallan. (Transcript of May 7, 2019 Hearing, page 32, lines 1-25; page 33, lines 3-

6). Mr. Middleton testified that later he identified the servers that he cloned by returning to his

office, opening the hard drive on which the cloned servers had been placed, and reviewing a list

of folders that populated with the names of each of those servers. (Transcript of the May 7, 2019

Hearing, page 33, lines 7-17). After McCallan produced the CNI data again in December 2018,

Mr. Middleton compared what he cloned in July 2013 with Defendant’s December 2018

production. (Transcript of May 7, 2019 Hearing, page 35, lines 12-19). Mr. Middleton discovered

that three servers were included in the December 2018 production that were not made available to

him to clone in July 2013. (TX646). One of these servers was identified as “NY-MAS.” (TX646).

Mr. Middleton testified that the Trustee never was in possession of the NY-MAS server before

December 2018. (Transcript of May 7, 2019 Hearing, page 38, lines 7-10).

         McCallan’s own exhibit list described all the following documents as having been exported

from the MAS 200 program: the detailed general ledger, income statement, sales reports, check

history, and balance sheets for Allegro Law, LLC, Seton Corp., Americorp, Inc., and The

Achievable, Inc. (11-3007, Doc. No. 792). Notably, this information would have also been

responsive to the discovery requests the Trustee propounded in the underlying litigation. (PX8,

PX9, PX27, and PX33).



18
  Synthis is Vanessa Vinicombe’s company that began its operations in Florida the day after Americorp shut its
operations down. (Transcript of the May 7, 2019 Hearing, page 32, lines 7-10). Vanessa Vinicombe is the former
CFO of Americorp.
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             Following the presentation of this testimony and evidence, McCallan’s counsel admitted

in closing arguments that the Trustee never was in possession of MAS-200: “I don’t want the Court

to think that the trustee was holding anything. They were not.” (Transcript of May 9, 2019 Closing

Arguments, page 7, lines 18-20).

       IV.      McCallan’s Failure To Purge Himself Of Contempt

             As this Court previously held, “[g]iven the size of this Court’s record, the voluminous

documentary evidence submitted, and the nature of the production made to date, determining what

is in dispute is a daunting task.” (11-3007, Doc. No. 629). However, this Court believes the best

approach is to explain at a high level the assets for which McCallan has failed to account, followed

by specific examples of the great lengths to which McCallan has gone to hide those assets.

             At the January 3, 2017 Meeting of Creditors that took place in Florida, McCallan falsely

testified that he never received any money from the Allegro scam:

             Mr. Bomkamp19:          So, you know, the [Alabama Bankruptcy Court’s] opinion
                                     more or less paints you as the person who – who took that
                                     hundred million dollars. Would you agree that that’s how
                                     the opinion paints you?

             McCallan:               That’s how it’s written.

             Mr. Bomkamp:            And can you account for that money? Do you know where
                                     that money is?

             McCallan:               I never received the money.

(TX 3, page 28, lines 16-24).

             At the January 30, 2018 hearing, the Trustee offered the testimony of Allen Carroll, the

expert in financial forensics who had testified twice before. Mr. Carroll prepared a schedule of


19
     Scott Bomkamp is an attorney for the Region 21 U.S. Trustee Program of the Department of Justice.

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the McCallans’ net cash and property between 2007 and 2015, which was introduced into evidence

as Trustee’s Exhibit 257.20 The Court has attached TX 257 to this opinion as Exhibit A.

Explaining TX 257, Mr. Carroll testified as follows:

         Ms. Tufts:      What does the new schedule in Trustee’s Exhibit 257 tell us,
                         generally, about Mr. McCallan’s net cash coming in between 2007
                         and 2015?

         Mr. Carroll:    Your Honor, the bottom line is that there’s $16.2 million that
                         remains unaccounted for after taking into consideration income
                         taxes, an estimate for annual living expenses, and then purchases
                         related to the big ticket purchases that we know of. And then, Your
                         Honor, assuming that those amounts were invested each year and
                         then grew at 5 percent annually, then the figure grows to $21.9
                         million unaccounted for.

         Ms. Tufts:       When you say “unaccounted for,” Mr. Carroll, what do you mean?

         Mr. Carroll:    What I mean is, we have a sum of money that’s being reflected as
                         coming in to Mr. McCallan for which there’s no definitive evidence
                         as to ultimately what happened to it. And so, you know, we’re – we
                         haven’t seen the documentation and the evidence that bridges the
                         gap between what we have here at $16.2 million as being received
                         and now what Mr. McCallan claims is zero. And simply, Your
                         Honor, Mr. McCallan hasn’t bridged that gap for us.

(Transcript of the January 30, 2018 Hearing, at page 16, lines 4-23). The vast majority of the

distributions to McCallan between 2007 and 2015 came from Seton Corp., one of the defendants

in this adversary proceeding that also is subject to a judgment in excess of $100 million for its part

in the Allegro scam. (TX 257, page 2; Doc. Nos. 361 and 362).

         The fact that so much money is unaccounted for is of particular concern to the Court

because McCallan’s lifestyle and recent spending habits are not commensurate with his claims of

poverty. According to the Trustee’s forensic accountant: “[McCallan’s] income and expenses far


20
  TX 257 was a more refined version of TX 117. TX 257 analyzed distributions (less income taxes, living
expenses, and big purchases), while TX 117 analyzed net income less taxes only.
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outpace those reflected on the bankruptcy schedules and been reported. And again, which means

that there are either earnings that are not disclosed or there are assets – undisclosed assets which

are being drawn upon to make up the difference.” (Transcript of October 23, 2017 Hearing, page

36, lines 10-15).

         As a first step toward purging himself of contempt, McCallan must fully account for the

$16.2 million in distributions that he received between 2007 and 2015. McCallan has repeatedly

and persistently failed to disclose assets and transfers of assets until after the Trustee has already

discovered them. Even when confronted with evidence of a previously undisclosed asset or

transfer, McCallan offers only enough information, if any, to acknowledge that he has been caught.

         This Court returns to its phonebook analogy. Assume again that one has a paper telephone

directory with 30,000 entries – i.e., 30,000 names with corresponding addresses and telephone

numbers. Assume further that someone rips each of the hundreds of pages out of the phonebook

individually. Assume further that only a few of those pages are thrown into a barrel, shaken up,

and given to someone from out-of-town. The rest of the pages are hidden in a safety deposit box

in an offshore bank. Throughout the post-judgment phase of this litigation, McCallan has only

produced the few random pages of the phonebook he has seen fit to share. The rest of the pages

that would provide a complete picture of his assets are nowhere to be found. Occasionally, when

the Trustee uncovers a previously undisclosed fact, McCallan produces the portion of the missing

page of the phonebook that reveals the existence of that fact, but nothing else.21

         A. McCallan’s History Of Failing To Fully Disclose Metals Transactions Evidences
            Both His Refusal To Fully Answer The Trustee’s Discovery And That He
            Continues To Secrete Assets

21
  This Court has previously warned McCallan not to engage in this behavior: “[T]ell me not just what I already
know, but tell me everything.” (Transcript of October 6, 2016 Hearing, page 80, lines 6-7).

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         Although there are numerous examples of McCallan’s conduct in this regard, the best

illustration is the history of McCallan’s failure to disclose purchases and transfers of coins and

precious metals. Thus, the Court will undertake to follow the disclosures (or lack thereof) related

only to that subject to demonstrate the egregious nature of McCallan’s contempt and the urgent

need for documentary evidence to account for the missing money.

         In the Trustee’s May 2016 post-judgment discovery requests, McCallan was asked whether

he had transferred or disposed of any real or personal property in the past 10 years, which covered

a period back to 2006. (TX 50, Interrogatory No. 12). In McCallan’s sworn responses on

September 29, 2016, he did not disclose any purchases, sales, or transfers of coins or precious

metals. (TX 50).

         During the October 6, 2016 hearing, despite no previous disclosure from McCallan of any

purchases of coins or precious metals at any point in the past, the Trustee made known to McCallan

that she knew that such transactions had occurred22:

         Mr. Olen:       You don’t disclose anywhere in your discovery responses that you
                         bought any gold or silver or disposed of any gold or silver in the last
                         five years, did you?

         McCallan:       I – it’s an oversight.

(Transcript of October 6, 2016 Hearing, page 39, lines 18-21).

         Mr. Olen:       So what you’re telling us is the most reliable way for everybody to
                         know just what you bought in the way of gold and silver coins and
                         just what you bought in the way of gold and silver where there’s
                         bars or whatever would be to have the records, right?

         McCallan:       Yes.


22
  The Trustee discovered some of these transactions in the workpapers produced by McCallan’s accountants in
response to a non-party subpoena. (Transcript of October 6, 2016 Hearing, page 38, lines 4-8).
                                                      62




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         Mr. Olen:         The very records that as you sit here today showing the Judge why
                           you shouldn’t be held in contempt you haven’t produced, not one
                           record about any gold and silver coins or bars or anything, right?

         McCallan:         I thought that that would be in my accounting records.

(Transcript of October 6, 2016 Hearing, page 39, line 25 through page 40, line 10).

         McCallan also testified that the $1.1 million he admitted to receiving from the sale of coins

and precious metals was spent on living expenses:

         Mr. Olen:         Mr. McCallan, where is the $1.1 million or so that you received from
                           selling these gold and silver coins? Where is the money?

         McCallan:         The monies were put into my bank accounts and it was used.
         …
         Mr. Olen:         Well, tell me about – what you know about where [the $1.1 million]
                           went.

         McCallan:         It was used for living expenses because all my companies were
                           defunct completely.

(Transcript of October 6, 2016 Hearing, page 35, lines 14-17; page 37, lines 17-20). As later

evidence demonstrated, McCallan’s testimony about this portion of the proceeds from the sale of

coins and precious metals was false. He did not spend it all on living expenses.

         Shortly after the October 6, 2016 hearing, and after the Trustee revealed she had learned

of the coins and precious metals transactions through other means, McCallan produced a set of

invoices that evidenced sales of gold and silver coins and other precious metals between 2007 and

2014.23 McCallan had not previously produced these invoices. As is shown later in this

chronology, these invoices did not reflect all of McCallan’s coins and precious metals transactions.


23
   Although most of these invoices are not in the record, Allen Carroll testified at the March 27, 2017 hearing that he
relied upon those invoices, together with information obtained from McCallan’s accountants, to develop a schedule
of McCallan’s gold and silver transactions from 2007 through 2014. (Transcript of March 27, 2017 Hearing, page 9,
line 18 through page 12, line 17). The record does not disclose precisely when those invoices were produced, but
given Mr. Carroll’s reliance on them, the Court can deduce that they were produced at some point between October
                                                          63




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           On October 10, 2016, the Trustee filed her second and third post-judgment discovery

requests to McCallan.24 Responses to these requests for production, which would have required


6, 2016 and March 27, 2017. The Trustee represents in her proposed findings of fact and conclusions of law that the
invoices were produced by McCallan on October 20, 2016.
24
     These discovery requests included all of the following:

13.        Any and all documents and records which evidence, reflect, refer or relate to any income, payment,
           compensation, fees, revenues, money or debt paid to you, or owed to you, by any person, partnership
           corporation, business, fund, trust or entity at any time from January 1, 2006 through the present.

18.        Any and all documents and records which evidence, reflect, refer or relate to any checks written to you or
           written for your benefit at any time from January 1, 2006 through the present.

20.        Any and all documents and records which evidence, reflect, refer or relate to any wire or electronic
           transfers made to you or made for your benefit at any time from January 1, 2006 through the present.

(TX 59).

5.         Any and all documents and records which evidence, reflect, refer or relate to any checks written to you or
           written for your benefit by or on behalf of any of the following at any time from January 1, 2006 through
           the present [individuals and entities listed].

6.         Any and all documents and records which evidence, reflect, refer or relate to any wire or electronic
           transfers made to you or made for your benefit by or on behalf of any of the following at any time from
           January 1, 2006 through the present [individual and entities listed].

(TX 60).

15.        Any and all documents and records which evidence, reflect, refer or relate to any distributions,
           assignments, sales, changes in ownership or transfers by you, or on your behalf, of any interest of any kind
           in any real property, personal property, lease, leasehold, investment, fund, trust, intellectual property or
           assets, intangible property or assets or any other property or assets of any kind to any person, corporation,
           business or entity at any time from January 1, 2006 through the present.

16.        Any and all documents and records which evidence, reflect, refer or relate to any payments, compensation,
           fees or money paid by you, or transferred by you, to any person, corporation, business or entity at any time
           from January 1, 2006 through the present.

17.        Any and all checks written by you or written on your behalf at any time from January 1, 2006 through the
           present.

19.        Any and all documents and records which evidence, reflect, refer or relate to any wire or electronic
           transfers made by you or made on your behalf at any time from January 1, 2006 through the present.

(TX 59).

1.         Any and all documents and records which evidence, reflect, refer or relate to any distributions,
           assignments, sales, changes in ownership or transfers by you, or on your behalf, of any interest of any kind
           in any real property, personal property, lease, leasehold, investment, fund, trust, intellectual property or
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extensive disclosure about coin and precious metal purchases, sales, and transfers, were due on

November 10, 2016. McCallan did not file any responses to the Second Post Judgment Request

for Production until September 2017. (TX 59) McCallan did not file any responses to the Third

Post Judgment Request for Production until October 2017. (TX 60).

           McCallan did not disclose any coin or precious metals sales or transfers on his December

9, 2016 Statement of Financial Affairs, which was filed in his Florida bankruptcy and would have

been reviewed by a new trustee and a new judge who would not have been familiar with his long

history of dealings in coins and precious metals. (TX 3). McCallan also did not disclose any

transfers involving coins or precious metals to or from his brother Peter McCallan. (TX 3).

McCallan testified under oath at the January 3, 2017 Florida Meeting of Creditors that he had

disclosed all of his property on his bankruptcy schedules, that he had reviewed the petition before

he filed it, and that there were no changes he wanted to make. (TX 3, page 6, lines 9-25). McCallan

also testified that he had not sold or transferred any property in the last two years (other than what

was listed on his Chapter 7 Petition). (TX 3, page 7, lines 6-16).

           McCallan further testified under oath at the January 31, 2017 Meeting of Creditors as

follows:



           assets or any other property or assets of any kind to any of the following at any time from January 1, 2006
           through the present [individuals and entities listed].

2.         Any and all documents and records which evidence, reflect, refer or relate to any payments, compensation,
           fees or money paid by you, or transferred by you, to any of the following at any time from January 1, 2006
           through the present [individual and entities listed].

4.         Any and all documents and records which evidence, reflect, refer or relate to any wire or electronic
           transfers made by you or made on your behalf to any of the following at any time from January 1, 2006
           through the present [individuals and entities listed].

(TX 60).

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       Ms. Tufts:     Other than what’s listed on Exhibit 1 [Statement of Financial
                      Affairs], is there any money, personal property, real property
                      anywhere in the world which you got or could have gotten money
                      to pay for any expense of yours in 2014, 2015, or 2016?

       McCallan:      That I don’t have listed?

       Ms. Tufts:     Right.

       McCallan:      No.

(TX 9, page 45, lines 18-25).

       Ms. Tufts:     Does anyone in the world have money or assets that belong to you
                      but that is under their possession or control other than what you
                      disclosed in your bankruptcy forms and schedules?

       McCallan:      One of my WaveRunners that was being fixed by a guy is at his
                      house, but I think I put that address. It’s worth less than a thousand
                      dollars.

       …

       Ms. Tufts:     Okay. Does anyone in the world, other than what you just said, have
                      money or assets that belong to you but is currently under their
                      possession and control?

       McCallan:      No.

(TX 9, page 55, lines 3-9;17-21).

       At the March 27, 2017 hearing on the Trustee’s Motion To Transfer, Allen Carroll testified

that based on his review of the documents that had been produced, McCallan had at least “201

one-ounce silver CMLs,” “2,700 Silver Eagle coins,” “1,002 one-ounce silver no names,” “eight

gold American Buffalo coins,” and “two 32.15 ounce Johnson Matthey gold bars” for which he

had failed to account. (Transcript of March 27, 2017 Hearing, page 13, line 18 through page 14,

line 2. See also TX19). Of course, to the extent that McCallan has purchased additional coins or

precious metals, but has failed to produce the invoices for those purchases, neither this Court nor

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the Trustee would know the full extent of the amount of gold and silver coins and other precious

metals for which McCallan has failed to account. (Transcript of March 27, 2017 Hearing, page

13, lines 10-14). This concern was borne out by the evidence.

       At the March 27, 2017 hearing, the Trustee elicited testimony from Mr. Carroll regarding

a coin sale that was neither listed on McCallan’s tax returns nor disclosed in any discovery

responses to date. McCallan’s June 2015 Wells Fargo bank account statement evidenced a deposit

from Southland Coins for $23,854.38. (Transcript of March 27, 2017 Hearing, page 17, lines 5-

19). Mr. Carroll testified that McCallan had not reported the income from this sale on his 2015

tax return. (Transcript of March 27, 2017 Hearing, page 17, lines 12-22). McCallan withdrew

$13,000 of the proceeds from that coin sale from the bank the same day he deposited it. (Transcript

of March 27, 2017 Hearing, page 18, lines 6-10). On June 12, 2015, in a series of transactions,

McCallan transferred the majority of the remaining of proceeds from this coin sale to a joint

account that he shared with his wife. (Transcript of March 27, 2017 Hearing, page 18, lines 11-

13). McCallan then attributed those same amounts on his personal income records to business

income from companies called Alpha Mar and Vortex Debt Group, concealing the true source of

the money. (TX 18). Mr. Carroll testified that the following graphic (displayed for the Court

during the hearing) accurately showed a side-by-side comparison of the money reflected in

McCallan’s 2015 bank statements as proceeds from the sale of gold and silver coins, compared to

what McCallan had recorded as “business income” in his accounting records.




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       On May 12, 2017, the Trustee issued a non-party subpoena to Peter McCallan, Tim

McCallan’s brother, which asked Peter McCallan to produce the following, among other things:

       Any and all documents and records which reflect, evidence, refer, or relate to any
       …transfers by Timothy McCallan or on his behalf of any interest of any kind in any
       real property, personal property, lease, leasehold, investment fund, trust,
       intellectual property, or assets in tangible property or assets or any other property
       or assets of any kind to you or for your benefit at any time from January 1, 2006
       through the present.

(TX 219). The non-party subpoena also sought documents specifically related to transfers, checks,

and wires to Sigmed or “any other business partnership, corporation, joint venture, trust,

investment fund, or entity of any kind which you [Peter McCallan] have owned or which you have

owned any interest of any kind.” (TX 219).           Peter McCallan’s response, which included a

photograph of a spreadsheet detailing the breakdown of the $74,000 from Cloud Medical Imaging

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to Sigmed, was identical to a spreadsheet that the Trustee obtained from Tim McCallan’s

computer. (TX 213 and TX 220).25 Peter McCallan did not disclose any transfer of coins or

precious metals from his brother Tim McCallan.

         On August 8, 2017, McCallan filed supplemental responses to Plaintiff’s First Post-

Judgment Interrogatories. (TX 52). In response to Interrogatory No. 12, which requested

information on the transfer or disposal of any real or personal property in the past 10 years,

McCallan added: “Various coins over the last 10 years. I have [sic] and sold silver coins. I do not

have records that show all the coins that I have sold.” (TX 52). McCallan did not list any transfers

to or from his brother Peter McCallan. (TX 52).

         On September 22, 2017, McCallan filed his second supplemental responses to Plaintiff’s

First Post-Judgment Interrogatories. (TX 53). In response to Interrogatory No. 12, McCallan

answered that there had been “[t]he sale of various coins” to an “unrelated party” for “unknown”

consideration. (TX 53).

         McCallan did not produce an accounting for any coins or precious metals sales until

October 16, 2017 – one week before the October 23, 2017 contempt hearing. (TX 160). The

accounting that McCallan finally produced was both inaccurate and incomplete. McCallan was

incarcerated following the October 23, 2017 contempt hearing. (Doc. No. 583). On November

28, 2017, McCallan produced a second accounting of coin and metal sales. (TX 221). Neither

“accounting” indicated when or where any of the coins and precious metals were purchased. (TX

160 and TX 221). The second accounting included McCallan’s sale of $23,854.38 worth of coins




25
 At a later hearing, when asked whether he took a picture of the spreadsheet and sent it to his brother, Timothy
McCallan only stated: “I don’t recall if I did.” (Transcript of January 30, 2018 Hearing, page 69, lines 1-5).
                                                        69




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to Southland Coins in June 2015 that had previously been falsely categorized as business income.

(TX 221). McCallan then falsely testified that the second accounting was complete and accurate:

         Mr. Olen:       All right. Look at the accounting… You see “Lou Maddaloni
                         Jewelers”?

         McCallan:       Yeah.

         Mr. Olen:       Do you see Coin Galleries of Oyster Bay?

         McCallan:       Yes.

         Mr. Olen:       Bullion Trading?

         McCallan:       Yes.

         Mr. Olen:       And Southland Coins? You see that?

         McCallan:       Yeah.

         Mr. Olen:       All right. So it was a complete listing of all the sales to all the coin
                         dealers, correct?

         McCallan:       At that – it looks like this was the complete list at the time.

(Transcript of January 30, 2018 Hearing, page 81, lines 15, 20-25; page 82, lines 1-6). Again,

McCallan’s testimony was false.

         Back on April 29, 2014, McCallan had invested $111,600 in an Interactive Brokers account

in his brother Peter McCallan’s name. (TX 223). Confronted with evidence that the source of

$73,575.20 of this initial investment was a check written by Central Florida Coin and Bullion to

his brother Peter McCallan, Tim McCallan admitted for the first time that he had given coins to

his brother Peter to sell on his behalf.26 (Transcript of January 30, 2018 Hearing, page 86, lines




26
  This check was finally produced only when McCallan was incarcerated and someone else was in charge of the
production on his behalf.
                                                      70




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19-25). McCallan gave no explanation as to why he structured the transaction with his brother the

way he did:

       Mr. Olen:      Why didn’t you simply take the $73,000 worth of coins to a coin
                      dealer in your geographic area in the state of New York and sell the
                      coins and get a check yourself and then send Peter a check or wire?

       McCallan:      I don’t know.

(Transcript of the January 30, 2018 Hearing, page 101, lines 22-25; page 102, line 1). Nor could

McCallan remember a single other detail of how, when, or why these coins came into his brother

Peter McCallan’s possession:

       Mr. Olen:      When did you give these coins to your brother, Peter McCallan?

       McCallan:      I don’t know when I gave them.

       Mr. Olen:      What about the year in which you gave them to your brother, Peter
                      McCallan?

       McCallan:      I don’t know.

       Mr. Olen:      How did you physically deliver the coins to your brother, Peter
                      McCallan?

       McCallan:      I don’t know.

       Mr. Olen:      And which types of coins did you deliver to your brother, Peter
                      McCallan?

       McCallan:      I don’t know exactly the type or style of them.

       Mr. Olen:      How long before the coins were sold by your brother, Peter
                      McCallan, how long before that was it you delivered these coins to
                      him?

       McCallan:      I don’t know.

       …

       Mr. Olen:      Is it your goal to purge yourself of contempt?

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       McCallan:      Yes.

       Mr. Olen:      All right. With that goal in mind, tell us where you bought the coins
                      that you gave to your brother Peter to sell for you.

       McCallan:      I don’t know.

       Mr. Olen:      Tell us how much you paid for the coins that you gave to your
                      brother Peter to sell for you.

       McCallan:      I don’t know.

       Mr. Olen:      Certainly when you bought the coins you had records of where you
                      bought them from correct?

       McCallan:      No. I don’t have any records that were in my control.

       Mr. Olen:      When you bought the coins, did you at that point have records of
                      buying the coins?

       McCallan:      I don’t know.

       …

       Mr. Olen:      So are you saying that it was your practice to buy coins and not keep
                      any record of where you bought them from?

       McCallan:      No.

(Transcript of January 30, 2018 Hearing, page 87, lines 6-21; page 90, lines 18-25; page 91, lines

1-7; page 92, lines 21-23).   Given yet another opportunity to explain the transfer of coins to his

brother Peter, McCallan refused to do so:

       Mr. Olen:      Why didn’t you take the coins to – the coins and metals to a dealer
                      in your area in New York, or anywhere in New York, and have them
                      wire the sale proceeds or write a check for the sale proceeds payable
                      to your brother, Peter McCallan?

       McCallan:      I don’t recall.



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       Mr. Olen:      The truth is you put these coins in the possession of your brother,
                      Peter McCallan, for him to sell because you wanted to hide the
                      transaction. Now, that’s the real truth of it, isn’t it?

       McCallan:      No, it’s not the truth.

       Mr. Olen:      Then give me any credible explanation of why you structured the
                      transaction that way, any credible explanation.

       McCallan:      As I had said many times in this transaction, I didn’t recall.

       Mr. Olen:      Since you don’t recall, it could be that it was that you were doing it
                      to hide the transaction?

       McCallan:      And it could be that I wasn’t.

(Transcript of January 30, 2018 Hearing, page 105, lines 23-25; page 106, lines1-14 (emphasis

added)).

       Indeed, McCallan failed to disclose this transfer of more than $73,000 worth of coins to

his brother Peter at any point prior to the January 30, 2018 hearing despite the following myriad

of opportunities:

       •   September 23, 2016 Responses to Plaintiff’s First Post-Judgment Interrogatories (TX
           49);
       •   September 29, 2016 Responses to Plaintiff’s First Post-Judgment Interrogatories (TX
           50);
       •   October 6, 2016 Testimony at the Show Cause Hearing;
       •   October 20, 2016 Production of Invoices Reflecting Coin and Metals Sales (TX 19);
       •   October 19, 2016 Amended Responses to Plaintiff’s First Post-Judgment
           Interrogatories (TX 51);
       •   December 9, 2016 Statement of Financial Affairs (TX 3);
       •   Testimony at the January 3, 2017 Meeting of Creditors (TX 8);
       •   Testimony at the January 31, 2017 Meeting of Creditors (TX 9);
       •   Testimony at the May 15, 2017 Meeting of Creditors (TX 68);
       •   August 8, 2017 Supplemental Responses to Plaintiff’s First Post-Judgment
           Interrogatories (TX 52);
       •   September 22, 2017 Second Supplemental Responses to Plaintiff’s First Post-Judgment
           Interrogatories (TX 53);
       •   October 16, 2017 Response to Plaintiff’s Second Post-Judgment Request for
           Production;
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        •   October 16, 2017 Response to Plaintiff’s Third Post-Judgment Request for Production;
        •   October 16, 2017 Summary of Precious Metals Sales (TX 160);
        •   Testimony at the October 23, 2017 Contempt Hearing; and
        •   November 28, 2017 Amended Summary of Precious Metals Sales (TX 221).

        With respect to the remainder of the $306,000 that McCallan had transferred to his brother

Peter – none of which was disclosed until after McCallan was incarcerated – McCallan testified

that he transferred it in cash:

        Mr. Olen:       [T]ell us how you transferred any of the $306,000 that your brother,
                        Peter, invested on your behalf in the Interactive Brokers account?

        McCallan:       I transferred cash that I had on hand.

        Mr. Olen:       Cash how? How did you get it to Peter, by check, by wire, by bills?

        McCallan:       By actual physical cash.

(Transcript of January 30, 2018 Hearing, page 110, lines 19-25; page 111, line 1).         McCallan

testified that he put the cash bills – in denominations of hundreds and fifties – in a knapsack and

flew it from New York to Florida. (Transcript of January 30, 2018 Hearing, page 111, lines 5-6;

page 113, lines 15-19).           McCallan offered no explanation for his failure to disclose this

information in his discovery responses:

        Mr. Olen:       Why in the world didn’t you tell us in the very first interrogatory
                        answers that you transferred all of these cash bills to your brother,
                        Peter, instead of telling me just now for the first time after you’ve
                        been in jail all this time?

        McCallan:       I made a mistake.

        …

        Mr. Olen:       Tell us why we are here today, on January 30, 2018, after you were
                        first held in contempt on October 6, 2016, and today is the first time
                        you’ve ever uttered a word to this Court about keeping large
                        amounts of cash? What are you just now telling us about this today?


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       McCallan:      I had always kept large amounts of cash.

       Mr. Olen:      All the more reason why are you just now telling the Court about it
                      today?

       McCallan:      I don’t have an answer.

(Transcript of January 30, 2018 Hearing, page 116, lines 4-9; page 120, lines 1-9).

       The evidence further demonstrated that McCallan has a lengthy history of attempting to

hide coin and precious metals transactions. He deposited $739,467.87 in proceeds from coin sales

into his daughter’s account before transferring it in smaller increments into the joint account he

shared with his wife. (TX 211). When asked about it, McCallan offered no explanation:

       Mr. Olen:      Why in the world did you put the $739,000 into the first bank
                      account and then promptly start moving it to another bank account
                      in smaller increments? Why the need to do that?

       McCallan:      I don’t know.

       Mr. Olen:      Hide the money, right? It’s to hide the transaction, isn’t it?

       McCallan:      No.

(Transcript of January 30, 2018 Hearing, page 137, lines 13-20). Structuring the transaction this

way and then producing only the bank statements makes it impossible to discover the original

source of a deposit, as this graphic from the hearing shows:




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(TX 211; TX 212). This graphic clearly illustrates why the bank records showing the immediately

preceding transfer are utterly inadequate and why McCallan must produce original source

documents (such as checks, wires, invoices, receipts, etc.) in order to purge himself of contempt.

       There was additional evidence of McCallan hiding purchases, sales, and transfers of coins

and precious metals. On May 21, 2012, McCallan transferred his 100% ownership in Hello

Performance, Inc. to his wife Jeannie McCallan. (TX 236). Immediately following the transfer of

ownership of Hello Performance to his wife Jeannie McCallan, McCallan sold one kilo of fine

gold on May 25, 2012 and one kilo of fine gold on May 26, 2012 to Lou Maddaloni Jewelers in

New York and deposited the proceeds of each sale into Hello Performance. (Transcript of January

30, 2018 Hearing, page 145, lines 11-14). McCallan realized a $10,000 gain on the sale of the

gold, but did not disclose this gain on his tax returns. (TX19; TX107). McCallan testified that he

deposited the $98,000 in proceeds from the sale of his coins into Hello Performance because the

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company needed cash. (Transcript of the January 30, 2018 Hearing, page 152, lines 14-17).

However, 6 days after the deposits were made the company transferred $19,000 to Wav Team,

which was 100% owned by McCallan. (TX 274). Over the next few weeks, Hello Performance

wired over $36,000 more back to McCallan. (TX 274; Transcript of January 30, 2018 Hearing,

page 152, lines 22-25; page 153, lines 1-10).

       Additionally, in May 2018, when confronted with information on a spreadsheet from his

personal computer suggesting his brother Chris was holding coins for McCallan (TX321),

McCallan testified as follows:

       Q:      So some of these coins [listed on TX321] were in the possession of your brother,
               Chris McCallan, right?

       A:      I don’t know.

       Q:      Your spreadsheet on your computer says you had put coins in the possession of
               your brother Chris McCallan, right? It’s what it says.

       A:      I don’t know. I’m telling you, I don’t know.
       ...
       Q:      Did you give coins to your brother, Chris?

       A:      I don’t know.

       Q:      So you may have?

       A:      I don’t think I did.
       ...
       Q:      Have you ever given any coins or metals to anybody to keep for you other than your
               brother, Peter?

       A:      No.

(Transcript of May 25, 2018 Hearing, page 178, lines 8-14; page 180, lines 19-22; page 181, lines5-

7).



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       This now familiar pattern continues. Once caught, McCallan included in his December

2018 production evidence of a $50,000 coin transaction with his brother Chris (TX701) and

another $20,000 metals transaction with a vendor previously undisclosed to the Trustee – Erik’s

Jewelry in New York (TX702). Additionally, in the May 2018 hearing, McCallan admitted that

his own accounting of gold and silver in his possession as of April 17, 2011 valued his collection

at $2.4 million, far more than the $1.85 million his previous accounting had disclosed. (Transcript

of May 25, 2018 Hearing, page 175, line 25; page 176, lines 1-3).

       In summary, despite selling or transferring $1.1 million or more of coins or precious metals

in the past decade, McCallan did not disclose a single coin or precious metal transaction until after

the Trustee had information about some of these transactions in the accounting workpapers she

obtained through a non-party subpoena. McCallan failed to list any coin or precious metal

transaction on his original bankruptcy schedules. McCallan refused to identify a single specific

coin or precious metal purchase, sale, or transfer in his responses to interrogatories. McCallan

submitted two separate accountings of coins and precious metal transactions that were both

incomplete and false. McCallan disguised coin and precious metal sales by running them through

bank accounts in the names of his children. McCallan disguised coin and precious metal sales by

miscategorizing the sale proceeds on his personal accounting records as business income.

McCallan disguised coin and precious metal sales by transferring his ownership of an entire

corporation to his wife, depositing the proceeds from the sales of those coins and precious metals

in that corporation’s bank account, and distributing the proceeds back to himself in smaller

increments through transfers to other companies that he owns. Despite these sophisticated

machinations, McCallan’s memory regarding the coin and precious metal transactions about which


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he has been asked has been virtually nonexistent – completely devoid of any useful details or

salient facts.

        This Court has used the coin and precious metals transfers as one example, but this Court

also finds a pattern of similar abusive discovery tactics with respect to other topics including, but

not limited to, McCallan’s foreign bank accounts, transfers made to his wife, and purported

“investments” McCallan has made in his brother Peter’s company, Sigmed.

        B. The Trustee’s Analysis Of The $16.2 Million In Money And Property That
           McCallan Has Put Outside The Reach Of The Trustee Continues To Be
           Confirmed By The Evidence

        The other compelling evidence that McCallan has failed to purge himself of contempt by

continuing to hide the location of money and assets is the strength of the Trustee’s analysis of the

$16.2 million gap in unaccounted for money and property contained within TX257. In its January

11, 2019 Order, this Court made two observations about the Trustee’s analysis:

        In view of the undersigned, the $16.2 Million figure is probably a significant
        understatement for two reasons. First, the calculation takes into account only
        taxable income reported by McCallan to the Internal Revenue Service from 200[7]
        forward. Yet, the Court is aware that McCallan has significant business activities
        before that time which are not taken into account. Thus, the calculation assumes
        that McCallan had no business activity and that his net worth was zero prior to
        200[7]. Second, the calculation takes into account only that income which was
        reported to the Internal Revenue Service. Yet, the Trustee has produced evidence
        that McCallan did not report income on his gold coin transactions to the Internal
        Revenue Service. From this, the Court infers that McCallan likely did not report
        any income which was not easily traceable to him.

(11-3007, Doc. No. 790).

        The conservative nature of Mr. Carroll’s $16.2 million analysis as well as McCallan’s

underreporting of income on his tax returns were both borne out by the evidence in the May 6-7,

2019 evidentiary hearing.


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         As part of McCallan’s attempt to rebut and discredit the Trustee’s analysis in TX257,

McCallan introduced into evidence a large spreadsheet,27 which he produced to the Trustee on

March 12, 2019. (TX669).28 Contained within TX669 was a Cash Deposit Analysis Spreadsheet

put together by Ms. Eckstein, which contained information on McCallan’s cash deposits into

known bank accounts between 2007 and 2017. (TX669).                     To more easily compare the Cash

Deposit Analysis to TX257, the Trustee reorganized this Cash Deposit Analysis and limited the

information so that it only contained deposits into known bank accounts between 2007 and 2015.

(TX671). The analysis in TX257 done in January 2018 concluded that McCallan would have

about $22 million after taxes and before expenses.29 (TX257).                    McCallan’s own analysis

demonstrated that he deposited more than $18 million into known bank accounts between 2007

and 2015. To this, the Trustee added $2 million in known bank account balances at the end of

2006 (TX675), $879,000 in tax refunds received in 2007 related to prior years’ taxes (TX703),

$780,000 in interest and dividend income (TX705), $3.8 million in distributions omitted from

McCallan’s tax returns (discussed below), and $480,000 in gains on metals (TX669), bringing the

total of unaccounted for money in TX257 to $24.1 million.

         From that total, living expenses and “big ticket” purchases must be deducted. The Trustee

had been consistently using a $422,595 estimate for annual living expenses because this was the

amount of McCallan’s 2015 living expenses that was found on a spreadsheet on his home

computer, projected backward each year from 2007 through 2014. (TX17). However, following


27
   This spreadsheet was 153 pages long, if printed on 11”x17” paper.
28
   This spreadsheet was first introduced by McCallan as Defense Exhibit A, which was later admitted as Defense
Exhibit 1.
29
   Because some of the distributions on TX257 consisted of McCallan’s companies making payments to third parties
(including the IRS) on his behalf (meaning those distributions never went into a McCallan bank account),
McCallan’s cash deposits in TX671 were compared to estimated cash after taxes on TX257 for a proper apples-to-
apples analysis.
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the production of more detailed annual living expense data from the MAS-200 system, the Trustee

credited McCallan with the difference between her original projection ($3.8 million in expenses)

and that which the new evidence showed he had spent ($4.3 million + the payment of a $1.3 million

FTC judgment for a total of $5.6 million). (TX665). Thus, expenses increased by about $1.8

million over and above what the Trustee originally concluded in TX257. When the additional

$1.8 million in expenses not previously incorporated into TX257 are deducted from the $24.1

million total, the new unaccounted for cash and property is $22.3 million.30 (Transcript of May 7,

2019 Hearing, page 145, lines 22-25; page 146, lines 1-25; page 147, lines 1-5).

         Thus, on both the income and expense side of the equation, TX257 was broadly consistent

with McCallan’s analysis of cash deposited into his known bank accounts as well as the new

evidence he produced about his living expenses. The deductions for “big ticket” items such as the

Florida mortgage, 529 Plan contributions, and IRA contributions were also comparable. So, the

question is: how did McCallan conclude that he spent $1.3 million more between 2007 and 2015

than he brought in during that period, while the Trustee concludes that there is a $22.3 million gap

in unaccounted for cash and property?

         A large part of the answer relates to the parties’ disputes about millions of dollars McCallan

withdrew in cash from his known bank accounts and incredibly large sums of money that flowed

through and between McCallan’s numerous companies.




30
   The Trustee was careful to note that, giving McCallan every benefit of the doubt, some portion of the distributions
in TX257 are likely non-cash distributions, so the gap is something less than $22.3 million. (Transcript of the May
7, 2019 Hearing, page 147, lines 18-25). Also, the Trustee noted that – even giving McCallan full credit for the
$6.296 million in annual living expenses he claims he identified, despite the flaws in McCallan’s expense analysis,
this figure would be approximately $21 million (Transcript of the May 7, 2019 Hearing, page 147, lines 6-17).
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       McCallan claims that $1.59 million in cash that he withdrew from known bank accounts

between 2007 and 2015 should be considered by this Court as money “taken out, saved, invested,

and then lost.” (TX669 and TX672). However, nearly all the entries in the “cash used” column

of TX672 describe metals purchases or so-called “investments” with Bobby San Filippo – these

entries do not tell the Court the ultimate disposition of that cash and therefore are not properly

deducted from the $22.3 million gap.

       McCallan seeks a $2.8 million deduction for money he claims he put back into his

companies directly from his known bank accounts. (TX669; TX674, Row 18). However, the

Trustee’s expert in forensic accounting tested multiple components of that figure and concluded

that it was overstated by at least $1,150,000 – a 40% error. (Transcript of the May 7, 2019 Hearing,

page 87, lines 20-23; page 89, lines 19-22).

       McCallan seeks a $595,000 deduction for money he claims constituted distributions not

taken as cash but instead that were paid directly to third parties on his behalf. (TX669; TX674,

Row 17). However, the Trustee tested various components of the $595,000 figure and concluded

that, for example, Americorp’s payments of McCallan’s personal bills between 2009 and 2011

(listed as distributions on the company’s books) were not reflected on McCallan’s K-1s as

distributions and therefore were not included on TX257 in the first place. (TX676; TX677). The

Trustee argued, and this Court accepts, that because TX257 was built on distributions and wages

reported on McCallan’s tax returns, McCallan cannot deduct from the $22.3 million gap

distributions to or for his benefit paid directly by his companies to third parties if he did not also

list them as distributions on his tax returns. To the extent that McCallan takes a position in these




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proceedings that those sums are, in fact, distributions to him, then he has understated his reported

income to the Internal Revenue Service.

       McCallan also asserts that an additional $1.4 million should be deducted from TX257, but

he describes it as “Additional Paid in Capital Unsure.” (TX669; TX674, Row 20). McCallan has

provided absolutely no support for the source or disposition of any of these transactions and

therefore they are not properly deducted. (TX695).

       McCallan seeks a $7.9 million deduction for “money moved from one company to

another.” (TX669; TX674, Row 19). McCallan asserts that, although this money is reflected as

distributions to him on his K-1s, this $7.9 million constituted intercompany transfers that never hit

a McCallan bank account and therefore should be deducted from the $22.3 million gap in TX257.

       As a threshold matter, Mr. Carroll, the Trustee’s expert in forensic accounting,

characterized the money moving among and between McCallan’s companies as “wild and

unusual,” and unlike anything Mr. Carroll had seen in his decades of accounting practice.

(Transcript of May 7, 2019 Hearing, page 116, lines 12-19; page 137, lines 1-4). At the highest

level, what the Trustee described was one McCallan company moving money to another McCallan

company, and then, at the end of the year, the company would “adjust” these receivables to

distributions to McCallan. The company receiving the money would then “adjust” its payable to

record those monies received as if they were a personal capital contribution by McCallan when no

real cash was contributed by him. (Transcript of May 7, 2019 Hearing, page 116, lines 20-25;

page 117, lines 1-21). The Trustee’s forensic accounting expert testified that it is not within

generally accepted tax and accounting principles for a company to turn transactions among related

entities into personal capital contributions of its shareholder. (Transcript of May 7, 2019 Hearing,


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page 117, lines 22-25; page 118, lines 1-7). In order for McCallan to appropriately treat something

as a capital contribution, he had to actually make a personal contribution of cash or property.

(Transcript of May 7, 2019 Hearing, page 117, lines 15-21). If McCallan wants to take the position

in these proceedings that this $7.9 million was merely money that went from one of his companies

to another without ever hitting his personal bank accounts, then he had no right to treat it as a

capital contribution for tax purposes by which he gained a substantial tax benefit. (Transcript of

May 7, 2019 Hearing, page 118, lines 12-21).

       For example, in 2008, Seton Corporation’s books reflected approximately $1.8 million due

from Media Mogul, $920,000 due from Americorp, and $1.2 million due from Intermark. (TX692,

page 7; Transcript of May 7, 2019 Hearing, page 128, lines 20-25; page 129, lines 1-3). In August

2009 – nine months after the end of the year – each of these receivables was

“reclassified” as a distribution to Tim McCallan. (TX692; Transcript of May 7, 2019 Hearing,

page 129, lines 19-25; page 130, lines 1-4). Seton’s receivables in these same amounts were

concomitantly reduced to zero and no significant advances to other companies are reported on

Seton’s tax returns. (TX692, pages 9-10, 13; Transcript of May 7, 2019 Hearing, page 129, lines

14-17). On the other side of the transaction, Media Mogul’s 2008 K-1 data to McCallan shows an

increase of $1.8 million in paid in capital (TX692, page 14); Americorp’s 2008 K-1 data to

McCallan shows an increase in paid in capital of $920,000 (TX692, page 15 and 17); and

Intermark’s tax returns show a repayment of loan from shareholder of $1.2 million. (TX692, pages

18-22). These transactions among related entities were turned into personal contributions of their

sole shareholder – Tim McCallan. There were numerous other examples of similar conduct:

       •   In 2010, Americorp’s books reflected $3.5 million in distributions to McCallan, but
           there were no such distributions reflected on his tax returns or K-1. (TX682). Instead,

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            those distributions were netted with $3.9 million in contributions, resulting in an
            increase of paid-in capital of approximately $364,000. (TX682). Both the distribution
            and contribution accounts included significant adjustments by Americorp related to the
            elimination of due to/due froms of other McCallan companies. (Transcript of May 7,
            2019 Hearing, page 100, lines 16-20).

        •   In 2010, the detail general ledger of The Achievable reflects $177,000 in distributions
            to McCallan, but there were no such distributions reflected on his tax returns or K-1.
            (TX686). Instead, those distributions were netted with $2.3 million in contributions,
            resulting in an increase of paid-in capital of approximately $2.1 million. (TX686).

        •   In 2012, WAV Team’s books showed $92,000 in distributions to McCallan that were
            not reflected on his tax return or K-1, but instead were netted with $738,000 in
            contributions during the year resulting in $646,000 in additional paid-in capital
            attributed to McCallan. (TX685).

        The evidence showed that distributions to McCallan reflected on the detailed general

ledgers of many of McCallan’s companies were netted with “paid-in capital” of those corporations,

many of which were largely the product of transactions among related entities, resulting in the

failure to report the distributions on McCallan’s K-1s. “[I]n effect, what they’ve done is just

simply move money amongst corporations and then consider it a capital contribution by Mr.

McCallan.” (Transcript of May 7, 2019 Hearing, page 117, line 25; page 118, lines 1-2). There

was no economic substance underlying these transactions. (Transcript of May 7, 2019 Hearing,

page 118, lines 3-7).

        The Trustee argued, and this Court agrees, that there are two possible (but not mutually

exclusive) explanations for the evidence presented: (1) McCallan engaged in this scheme to

manufacture a tax basis in entities that reflected a tax loss so that he could personally get the benefit

of a tax loss when one was not otherwise available; or (2) McCallan engaged in this scheme to

hide millions of dollars. (Transcript of May 7, 2019 Hearing, page 145, lines 17-21).




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       As evidence of the second explanation, the Trustee demonstrated that components of this

$7.9 million transferred from one McCallan company to another ultimately made its way right

back to McCallan and his family.     For example, McCallan argued that one element of this $7.9

million in intercompany transfers that should be deducted from distributions and wages in TX257

were two Hello Performance transfers totaling $49,401 each. (TX669; TX688). However, the

evidence demonstrates that most or all of these transfers ended up right back in the possession of

McCallan or his wife. McCallan bought 3 gold bars in 2010 for a total of $131,000. (TX19). On

May 21-22, 2012, McCallan transferred his 100% interest in Hello Performance to his wife,

Jeannie McCallan. (TX236). A few days later, McCallan sold two kilos of gold to Maddaloni

Jewelers for $49,401 each. (TX214 and TX215). Hello Performance treated the proceeds from

McCallan’s gold sale as a capital contribution to a company in which he no longer had any interest.

(TX280). Hello Performance then wired much of the proceeds from that “capital contribution”

right back to McCallan personally and WAV Team, a company of which he was the 100% owner,

and which also happened to also be paying a salary to his wife that same year (TX698 and TX699).

       This Court has previously seen evidence of McCallan putting money into one of his

companies only for it to surreptitiously end up back in McCallan’s personal possession. For

example, on October 22, 2012, McCallan wrote a check to Vortex Debt Group in the amount of

$170,000.00. (TX385). Only a few weeks later, McCallan began wiring money, primarily in

$2,000 increments, from Vortex Debt Group to his wife, Jeannie McCallan, and the total of those

wires over the next two years was $180,000.00. (TX240).

       McCallan has made absolutely no effort to explain what happened to the money that was

transferred from one McCallan company to another. Thus, until McCallan presents evidence to


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this Court that this $7.9 million was lost in legitimate business operations supported by checks or

wires showing the money went to third parties in arms-length transactions, it remains unaccounted

for. (Transcript of May 7, 2019 Hearing, page 119, lines 6-14).

        C. Other Tax And Accounting Irregularities

        The Trustee offered other instances of tax and accounting irregularities by McCallan and

his companies. For example, in 2012, McCallan personally paid Haskell Slaughter, Jackson

Thornton, and Bates White fees for legal services and legal support services McCallan received in

this litigation. (TX697). However, those amounts were treated as being contributed to Vortex

Debt Group and expensed on its books. (TX697). However, McCallan’s own personal expense

records for 2012 reflected these legal fees as a personal expense rather than an expense associated

with Vortex Debt Group. (TX658, page 12; Transcript of May 7, 2019 Hearing, page 143, lines

20-25; page 144, lines 1-6). Vortex Debt Group reported $395,000 of taxable income in 2012, for

which legal fees in the amount of $366,000 were taken as a deduction. (TX697). As a result,

McCallan received a personal tax benefit because the income of Vortex Debt Group would have

been $366,000 more without this improper deduction that was not related to the business of Vortex.

(Transcript of May 7, 2019 Hearing, page 142, lines 13-23).

   V.      Conclusion

        This Court has repeatedly held that McCallan is in civil contempt, which is coercive in

nature. On October 24, 2017, this Court held: “McCallan is in direct civil contempt for his failure

to produce post-judgment discovery as required by the Court’s Order of August 22, 2017.” (Doc.

No. 583) (emphasis added). On both October 24, 2017 and January 16, 2018, this Court made

clear: “McCallan’s incarceration is civil in nature and therefore coercive and not punitive.


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McCallan holds the keys to his jail cell in his pocket. He need only produce the required discovery,

or prove that he cannot, to secure his release.” (11-3007, Doc. Nos. 583 and 618). At the

conclusion of the January 30, 2018 hearing, this Court stated: “I want to stress that I see this as

civil contempt, and I see it as coercive, and the purpose is to coerce you [McCallan] to give

complete, full answers to the post-judgment discovery previously served by the Trustee.”

(Transcript of January 30, 2018 Hearing (second day), page 145, lines 13-16).

        This Court reiterates and reaffirms today that McCallan is being held in civil contempt,

which is coercive and not punitive in nature. With each evidentiary hearing, McCallan produces

new documents and the amount of unaccounted for money and assets increases. The United States

Marshal shall continue to hold Timothy McCallan in custody, on the Court’s finding of contempt,

until further order of this Court.

                                              Respectfully submitted,

                                              /s Steve Olen
                                              STEVE OLEN (OLENS7621)
                                                  ASB-7621-N64S
                                              LUCY E. TUFTS (TUFTL1447)
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this the 7th day of June, 2019, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which will send notification of such filing
to all counsel of record, as described below:

Michael A. Fritz, Sr.
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       The following non-CM/ECF participants were served by email and/or U.S. mail, postage
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                                               /s Steve Olen
                                               Steve Olen




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